             Case 21-03364               Doc 1            Filed 03/15/21 Entered 03/15/21 17:25:48                              Desc Main
                                                            Document     Page 1 of 66
 Fill in this information to identify the case:


 United States Bankruptcy Court for the:


  Northern                  District of Illinois
                                       (State)
 Case number (If known):                                      Chapter 7                                                             ❑ Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            04/20

If more space is needed, aftach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1. Debtor's name                                Permian Basin Railways, Inc.



 2. All other names debtor used
    in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names




 3. Debtor's federal Employer                    0 1 _         0 6 8 7 6 4 4
    Identification Number (EIN)



 4. Debtor's address                         Principal place of business                                   Mailing address, if different from principal place
                                                                                                           of business

                                             1               Parker Place
                                             Number          Street                                        Number      Street

                                             Suite 112
                                                                                                           P.O. Box

                                             Janesville, WI 53545
                                             City                              State     ZIP Code          City                        State       ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                             Rock
                                             County
                                                                                                           Number      Street




                                                                                                           City                        State       ZIP Code




 s. Debtor's website (URL)                   https://vvww.iowapacific.net/permian-basin-railways.html




Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 1
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Debtor        Permian Basin Railways, Inc.                                                   Case number (if known)
             Name



                                              Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6. Type of debtor
                                          ❑ Partnership (excluding LLP)
                                          ❑ Other. Specify:

                                          A. Check one:
 7. Describe debtor's business
                                          ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          ❑ Railroad (as defined in 11 U.S.C. § 101(44))
                                          ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          ❑ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          le None of the above


                                          B. Check all that apply:

                                          ❑ Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              htto://www.uscourts.qov/four-diqit-national-association-naics-codes .
                                               5 5 1 1

 8. Under which chapter of the            Check one:
    Bankruptcy Code is the
    debtor filing?                        E   Chapter 7
                                          ❑ Chapter 9
                                          ❑ Chapter 11. Check all that apply:
     A debtor who is a "small business
     debtor" must check the first sub-                     ❑ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
     under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
     (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
     "small business debtor") must                           11 U.S.C. § 1116(1)(B).
     check the second sub-box.                             ❑ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                             noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                             less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                             Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                             statement of operations, cash-flow statement, and federal income tax return, or if
                                                             any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                             § 1116(1)(B).

                                                           ❑ A plan is being filed with this petition.

                                                           ❑ Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          ❑ Chapter 12




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 2
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Debtor        Permian Basin Railways, Inc.                                                 Case number (/known)
              Name

 9. Were prior bankruptcy cases         le No
    filed by or against the debtor
    within the last 8 years?            ❑ Yes. District                              When                      Case number
                                                                                             MM/ DD / YYYY
     If more than 2 cases, attach a
                                                  District                           When                      Case number
     separate list.
                                                                                             MM/ DD / YYYY

 10.Are any bankruptcy cases            ❑ No
    pending or being filed by a
    business partner or an              ki Yes. Debtor See attached list of cases                                 Relationship
    affiliate of the debtor?                      District                                                        When
     List all cases. If more than 1,                                                                                             MM / DD / YYYY
     attach a separate list.                      Case number, if known



 ii. Why is the case filed in this      Check all that apply:
     district?
                                        le Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                        ❑ A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have    No
    possession of any real        ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                 Why does the property need immediate aftention? (Check all that apply.)
    attention?
                                                 ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?

                                                 ❑ It needs to be physically secured or protected from the weather.

                                                 ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                   attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                   assets or other options).

                                                 ❑ Other



                                                 Where is the property?
                                                                            Number         Street




                                                                            City                                                 State ZIP Code


                                                 Is the property insured?
                                                 ❑ No
                                                 ❑ Yes. Insurance agency

                                                             Contact name

                                                             Phone




             Statistical and administrative information




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              Name




 13.   Debtor's estimation of            Check one:
       available funds                   ❑ Funds will be available for distribution to unsecured creditors.
                                         10   After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                         ❑ 1-49                               ❑ 1,000-5,000                                 ❑ 25,001-50,000
 14. Estimated number of                 RI 50-99                             ❑ 5,001-10,000                                ❑ 50,001-100,000
    creditors
                                         ❑ 100-199                            ❑ 10,001-25,000                               ❑ More than 100,000
                                         ❑ 200-999


                                           $0-$50,000                         ❑   $1,000,001-$10 million                    ❑   $500,000,001-$1 billion
 15. Estimated assets                    ❑ $50,001-$100,000                   ❑   $10,000,001-$50 million                   ❑   $1,000,000,001-$10 billion
                                         ❑ $100,001-$500,000                  ❑   $50,000,001-$100 million                  ❑   $10,000,000,001-$50 billion
                                         ❑ $500,001-$1 million                ❑   $100,000,001-$500 million                 ❑   More than $50 billion


                                         ❑    $0-$50,000                      ❑ $1,000,001-$10 million                      ❑   $500,000,001-$1 billion
 16. Estimated liabilities               ❑    $50,001-$100,000                  $10,000,001-$50 million                     ❑   $1,000,000,001-$10 billion
                                         ❑    $100,001-$500,000               ❑ $50,000,001-$100 million                    ❑   $10,000,000,001-$50 billion
                                         ❑    $500,001-$1 million             ❑ $100,000,001-$500 million                   ❑   More than $50 billion



             Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                              petition.
       debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                              Executed on


                                          x                                                                  Edwin E. Ellis
                                              Signature of authorized representative of debtor               Printed name

                                              Title President




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 18. Signature of attorney         Xis/ Lars A. Peterson                                                    03/15/2021
                                                                                              Date
                                      Signature of attorney for debtor                                      MM / DD / YYYY



                                      Lars A. Peterson
                                     Printed name
                                      L&G Law Group LLP
                                     Firm name
                                      175            W. Jackson Blvd., Ste. 950
                                     Number         Street
                                      Chicago                                                       IL              60604
                                     City                                                           State           ZIP Code

                                      (312) 364-2500                                                 Ipeterson@lgcounsel.com
                                     Contact phone                                                  Email address



                                      6293551                                                       IL
                                     Bar number                                                     State




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         Addendum to Official Form 201 — Voluntary Petition for Non-Individuals Filing for Bankruptcy

10. Are any bankruptcy cases pending or being filed by a business partner or an affiliate of the debtor?

 Debtor                                    Relationship       District     When           Case Number
 Heritage Rail Leasing, LLC               sister company      D. Colo      8/21/2020      20-15606-TBM
 San Luis & Rio Grande Railroad, Inc.     direct subsidiary   D. Colo      10/16/2019     19-18905-TBM
 Saratoga and North Creek Railway, LLC    direct subsidiary   D. Colo      3/30/2020      20-12313-TBM
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 Fill in this information to identify the case:


 Debtor name Permian Basin Railways, Inc.

 United States Bankruptcy Court for the: Northern               District of Illinois
                                                                            (State)
 Case number (If known):

                                                                                                     ❑ Check if this is an
                                                                                                       amended filing




Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                              12/15




Part 1:    Summary of Assets


1. Schedule NB: Assets—Real and Personal Property (Official Form 206A/B)

   la. Real property:
                                                                                                                     0.00
       Copy line 88 from Schedule A/B

   lb. Total personal property:
                                                                                                     $               0.00
       Copy line 91A from Schedule A/B

   lc. Total of all property:
                                                                                                                    0.00
       Copy line 92 from Schedule A/B




Part 2:    Summary of Liabilities




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
   Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                                                                                                  H      11,694,785.01




   3a.Total claim amounts of priority unsecured claims:
      Copy the total claims from Part 1 from line 5a of Schedule E/F                                         79,673.36

   3b.Total amount of claims of nonpriority amount of unsecured claims:
      Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F
                                                                                                   -Fs 4,483,929.13



4. Total liabilities
   Lines 2 + 3a + 3b
                                                                                                     $ 16,258,387.50




 Official Form 206Sum                    Summary of Assets and Liabilities for Non-Individuals            page 1
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                                                          Document     Page 8 of 66
  Fill in this information to identify the case:


  Debtor name    Permian Basin Railways, Inc.

  United States Bankruptcy Court for the:   Northern               District of   Illinois
                                                                                 (State)
  Case number (If known):                                                                                                                ❑ Check if this is an
                                                                                                                                           amended filing



Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule NB, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, aftach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is aftached, include the amounts from the aftachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or aftach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

   •      No. Go to Part 2.
   ❑      Yes. Fill in the information below.

       All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor's
                                                                                                                                    interest

2. Cash on hand

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                  Last 4 digits of account number
   3.1.                                                                                                                             $
   3.2.


4. Other cash equivalents (Identify all)
   4.1.

   4.2.                                                                                                                             $

5. Total of Part 1                                                                                                                                          0.00
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

   •      No. Go to Part 3.
   ❑      Yes. Fill in the information below.
                                                                                                                                        Current value of
                                                                                                                                        debtor's interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit
   7.1.
   7.2.



  Official Form 206A/B                                    Schedule NB: Assets — Real and Personal Property                                          page 1
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                 Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment
   8.1.
   8.2.

9. Total of Part 2.
                                                                                                                                 $                 0.00
   Add lines 7 through 8. Copy the total to line 81.



Part 3:      Accounts receivable

10. Does the debtor have any accounts receivable?

           No. Go to Part 4.
    ❑ Yes. Fill in the information below.
                                                                                                                                 Current value of debtor's
                                                                                                                                 interest
11. Accounts receivable

    11a.90 days old or less:
                                   face amount                     doubtful or uncollectible accounts

    11b.Over 90 days old:                                                                                  4
                                   face amount                     doubtful or uncollectible accounts

12. Total of Part 3
                                                                                                                                                  0.00
    Current value on lines 11a + 11 b = line 12. Copy the total to line 82.


Part 4:      Investments

13. Does the debtor own any investments?
    ❑ No. Go to Part 5.
    WI Yes. Fill in the information below.
                                                                                                        Valuation method         Current value of debtor's
                                                                                                        used for current value   interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1.
   14.2.



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                   % of ownership:
   15.1. Mt. Hood Railroad Company                                                     100 %                                     $                    0.00
   15.2. San Luis & Rio Grande Railroad, Inc.                                          100 %                                                          0.00
                                                                                                                                 $
           (continued on attached rider)
16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
   Describe:
   16.1.
   16.2.




17. Total of Part 4
                                                                                                                                                  0.00
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                        Schedule NB: Assets — Real and Personal Property                                 page 2
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Debtor           Permian Basin Railways, Inc.              Document     Page 10 of Case
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                 Name




Part 5:     Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

    gl No. Go to Part 6.
    ❑ Yes. Fill in the information below.

        General description                         Date of the last      Net book value of     Valuation method used       Current value of
                                                    physical inventory    debtor's interest     for current value           debtor's interest
                                                                          (Where available)
19. Raw materials

                                                    MM / DD / YYYY

20. Work in progress

                                                    MM / DD / YYYY

21. Finished goods, including goods held for resale

                                                    MM / DD / YYYY

22. Other inventory or supplies

                                                    MM / DD / YYYY


23. Total of Part 5                                                                                                     $                       0.00
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
    ❑      No
    ❑      Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

    ❑      No
    ❑      Yes. Book value                     Valuation method                           Current value
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
    ❑      No
    ❑      Yes

Part 6:     Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    •     No. Go to Part 7.

    ❑ Yes. Fill in the information below.

        General description                                                Net book value of    Valuation method used   Current value of debtor's
                                                                           debtor's interest    for current value       interest
                                                                           (Where available)
28. Crops—either planted or harvested
                                                                           $                                            $

29. Farm animals Examples: Livestock, poultry, farm-raised fish

                                                                           $                                            $

30. Farm machinery and equipment (Other than titled motor vehicles)

                                                                           $                                            $

31. Farm and fishing supplies, chemicals, and feed

                                                                           $                                            $

32. Other farming and fishing-related property not already listed in Part 6




Official Form 206A/B                                        Schedule NB: Assets — Real and Personal Property                            page 3
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33. Total of Part 6.                                                                                                             $                0.00
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     ❑ No
     ❑ Yes. Is any of the debtor's property stored at the cooperative?

          ❑    No
          ❑    Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     ❑ No
     ❑ Yes. Book value $                      Valuation method                        Current value $
36. Is a depreciation schedule available for any of the property listed in Part 6?

     ❑ No
     ❑ Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     ❑ No
     ❑ Yes



Part 7:       Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    Ul No. Go to Part 8.
     ❑ Yes. Fill in the information below.


   General description                                                        Net book value of         Valuation method         Current value of debtor's
                                                                              debtor's interest         used for current value   interest
                                                                              (Where available)

39. Office furniture

                                                                               $                                                 $

40. Office fixtures

                                                                               $                                                 $

41. Office equipment, including all computer equipment and
    communication systems equipment and software
                                                                               $                                                 $

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1
   42.2

   42.3

43. Total of Part 7.
                                                                                                                                 $                0.00
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

    ❑ No
    ❑ Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

    ❑ No
    ❑ Yes


Official Form 206A/B                                        Schedule NB: Assets — Real and Personal Property                                 page 4
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 Debtor          Permian Basin Railways, Inc.              Document     Page 12 of Case
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Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

    •     No. Go to Part 9.
     ❑ Yes. Fill in the information below.


   General description                                                     Net book value of    Valuation method used   Current value of
                                                                           debtor's interest    for current value       debtor's interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1

   47.2

   47.3

   47.4


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1

   48.2


49. Aircraft and accessories

   49.1

   49.2


50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)




51. Total of Part 8.
                                                                                                                        $                   0.00
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
    ❑      No
    ❑      Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
    ❑      No
    ❑      Yes




 Official Form 206A/B                                       Schedule NB: Assets — Real and Personal Property                      page 5
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                 Name




Part 9:     Real property

54. Does the debtor own or lease any real property?
    •     No. Go to Part 10.
    ❑ Yes. Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of   Valuation method used    Current value of
    Include street address or other description such as    of debtor's interest   debtor's interest   for current value        debtor's interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
    55.1                                                                          $                                            $

    55.2                                                                          $                                            $

    55.3                                                                          $                                            $

    55.4                                                                          $                                            $

    55.5                                                                          $                                            $

    55.6                                                                          $                                            $

56. Total of Part 9.
                                                                                                                               $                   0.00
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
    ❑      No
    ❑      Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
    ❑      No
    ❑      Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
    W1 No. Go to Part 11.
    ❑ Yes. Fill in the information below.

        General description                                                       Net book value of   Valuation method         Current value of
                                                                                  debtor's interest   used for current value   debtor's interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
                                                                                  $                                            $
61. Internet domain names and websites
                                                                                  $                                                $
62. Licenses, franchises, and royalties
                                                                                  $                                                $
63. Customer lists, mailing lists, or other compilations
                                                                                  $                                                $
64. Other intangibles, or intellectual property

65. Goodwill


66. Total of Part 10.
                                                                                                                                                   0.00
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule NB: Assets — Real and Personal Property                            page 6
                Case 21-03364                   Doc 1         Filed 03/15/21 Entered 03/15/21 17:25:48                                 Desc Main
Debtor           Permian Basin Railways, Inc.                  Document     Page 14 of Case
                                                                                        66 number (if ;mown)
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    ❑    No
    ❑    Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    ❑    No
    ❑    Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    ❑ No
    ❑ Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
    ❑    No. Go to Part 12.
    0 Yes. Fill in the information below.
                                                                                                                                              Current value of
                                                                                                                                              debtor's interest
71. Notes receivable
    Description (include name of obligor)
                                                                                                                                   =      $
                                                                            Total face amount   doubtful or uncollectible amount
72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

                                                                                                               Tax year
                                                                                                               Tax year
                                                                                                               Tax year

73. Interests in insurance policies or annuities



74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    Unasserted causes of action against Federal Railroad Administration
    Nature of claim         Wrongful failure of FRA to refund credit risk premiums; breach of escrow agreement by FRA
    Amount requested                  $ at least $2,170,280 plus interest

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims



    Nature of claim
    Amount requested

76. Trusts, equitable or future interests in property



77. Other property of any kind not already listed Examples: Season tickets,
    country club membership




78. Total of Part 11.
                                                                                                                                          $                   0.00
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    0 No
    ❑    Yes

Official Form 206A/B                                               Schedule NB: Assets — Real and Personal Property                                      page 7
              Case 21-03364                Doc 1      Filed 03/15/21 Entered 03/15/21 17:25:48                            Desc Main
Debtor         Permian Basin Railways, Inc.            Document     Page 15 of Case
                                                                                66 number          (if ;mown)
              Name




Part 12:     Summary




In Part 12 copy all of the totals from the earlier parts of the form.



      Type of property                                                         Current value of                 Current value
                                                                               personal property                of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                     0.00


81. Deposits and prepayments. Copy line 9, Part 2.                                          0.00


                                                                                            0.00
82. Accounts receivable. Copy line 12, Part 3.


83. Investments. Copy line 17, Part 4.                                                      0.00

                                                                                           0.00
84. Inventory. Copy line 23, Part 5.

85. Farming and fishing-related assets. Copy line 33, Part 6.                               0.00

86. Office furniture, fixtures, and equipment; and collectibles.                            0.00
    Copy line 43, Part 7.
                                                                                            0.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.


88. Real property. Copy line 56, Part 9.                                                      4            $                0.00


89. Intangibles and intellectual property. Copy line 66, Part 10.                           0.00


90. All other assets. Copy line 78, Part 11.                                    $           0.00



91. Total. Add lines 80 through 90 for each column.                     91a.               0.00                            0.00
                                                                                                   91b.




92. Total of all property on Schedule NB. Lines 91a + 91b = 92.                                                                            0.00




Official Form 206A/B                                      Schedule NB: Assets - Real and Personal Property                            page 8
  Case 21-03364       Doc 1    Filed 03/15/21 Entered 03/15/21 17:25:48           Desc Main
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        OFFICIAL FORM 206A/B — ASSETS - REAL AND PERSONAL PROPERTY
                         PART 4, QUESTION 15 RIDER

15. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
any interest in an LLC, partnership, or joint venture (continued)

          Name of Entity             % of    Valuation method       Current value of
                                   ownership used for current value Debtor's interest
 15.3     Saratoga and North         100%                                 $0.00
          Creek Railway, LLC
 15.4     Chicago Terminal            100%                                       $0.00
          Railroad Company
                  Case 21-03364                    Doc 1       Filed 03/15/21 Entered 03/15/21 17:25:48                                       Desc Main
                                                                Document     Page 17 of 66
  Fill in this information to identify the case:

  Debtor name    Permian Basin Railways, LLC
                                 Northern
  United States Bankruptcy Court for the:                                  District of   Illinois
                                                                                         (State)

  Case number (If known):                                                                                                                             ❑ Check if this is an
                                                                                                                                                        amended filing
  Official Form 206D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15

  Be as complete and accurate as possible.


 1. Do any creditors have claims secured by debtor's property?
     ❑ No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
     la Yes. Fill in all of the information below.

                List Creditors Who Have Secured Claims
                                                                                                                               Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
                                                                                                                               Amount of claim         Value of collateral
    secured claim, list the creditor separately for each claim.
                                                                                                                               Do not deduct the value that supports this
                                                                                                                               of collateral.          claim
Eiti Creditor's name                                          Describe debtor's property that is subject to a lien
       Big Shoulders Capital LLC                               All property, assets or rights of Debtor                        $ 8,169,976.66 $ Unknown
     Creditor's mailing address
      105 Revere Drive, Suite D,
      Northbrook, IL 60062                                    Describe the lien
                                                                Loan and Security Agreement 2/27/2017
     Creditor's email address, if known                       Is the creditor an insider or related party?
                                                              • No
    dibenedetto@bigshoulderscap.com
                                                              ❑ Yes
     Date debt was incurred        2/27/2017                  Is anyone else liable on this claim?
                                                              ❑ No
     Last 4 digits of account
                                                              ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
     Do multiple creditors have an interest in the            As of the petition filing date, the claim is:
     same property?                                           Check all that apply.
     ❑ No                                                          Contingent
     L Yes. Specify each creditor, including this creditor,    0   Unliquidated
             and its relative priority.                        0   Disputed
               1. Big Shoulders Capital LLC
               9 IRS 'I Inripppnripnt I nonmotivp
Ela Creditor's name                                           Describe debtor's property that is subject to a lien
     Independent Locomotive Leasing, LLC                       All personal property                                                   618,842.25 $ Unknown
                                                                                                                               $
     Creditor's mailing address
      225 W. Washington St., Suite 2200
      Chicago, IL 60606                                       Describe the lien
                                                               Citation re judgment entered 11/28/2018, N.D. III. case 18-cv-07295
     Creditor's email address, if known                       Is the creditor an insider or related party?
                                                              El No
                                                              ❑ Yes
     Date debt was incurred         11/28/2018                Is anyone else liable on this claim?
                                                              111 No
     Last 4 digits of account
                                                              ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
     Do multiple creditors have an interest in the            As of the petition filing date, the claim is:
     same property?                                           Check all that apply.
     ❑ No                                                      ❑ Contingent
     g Yes. Have you already specified the relative            ❑ Unliquidated
             priority?                                         ❑ Disputed
         ❑ No. Specify each creditor, including this
                  creditor, and its relative priority.


         g   Yes. The relative priority of creditors is
                 specified on lines 2.1

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                   $ $11,694,785.01
     Page, if any.


    Official Form 206D                             Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of 3
                      Case 21-03364                     Doc 1    Filed 03/15/21 Entered 03/15/21 17:25:48                                     Desc Main
     Debtor            Permian Basin Railways, LLC                Document     Page 18 ofCase
                                                                                          66 number (if known)
                      Name



                                                                                                                                 Column A                  Column B
     Part 1:       Additional Page                                                                                               Amount of claim           Value of collateral
                                                                                                                                 Do not deduct the value   that supports this
                                                                                                                                 of collateral.            claim
     Copy this page only if more space is needed. Continue numbering the lines sequentially from the
     previous page.


pi Creditor's name                                              Describe debtor's property that is subject to a lien

         Internal Revenue Service                                All property and rights to property
                                                                                                                                 $ 2,905,966.10 $ Unknown
       Creditor's mailing address

        Centralized Insolvency Operation .
        Box 7346, Phila., PA 19101-7346                         Describe the lien
                                                                 Federal Tax Lien, CT-1 taxes for 2013-2016

       Creditor's email address, if known                       Is the creditor an insider or related party?
                                                                RI No
                                                                 ❑   Yes


       Date debt was incurred 11/28/2018                        Is anyone else liable on this claim?
                                                                     No
       Last 4 digits of account
                                                                 ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
       number

       Do multiple creditors have an interest in the            As of the petition filing date, the claim is:
       same property?                                           Check all that apply.
       ❑ No                                                      ❑ Contingent
                                                                 ❑ Unliquidated
       0 Yes. Have you already specified the relative
               priority?                                         ❑ Disputed

              ❑   No. Specify each creditor, including this
                      creditor, and its relative priority.




              O   Yes. The relative priority of creditors is
                      specified on lines 2.1


2.     Creditor's name                                          Describe debtor's property that is subject to a lien




       Creditor's mailing address



                                                                Describe the lien


       Creditor's email address, if known                       Is the creditor an insider or related party?
                                                                 ❑   No
                                                                 ❑   Yes

       Date debt was incurred                                   Is anyone else liable on this claim?
                                                                 ❑   No
       Last 4 digits of account
                                                                 ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
       number

       Do multiple creditors have an interest in the            As of the petition filing date, the claim is:
       same property?                                           Check all that apply.
       ❑ No                                                      ❑ Contingent
                                                                 ❑ Unliquidated
       ❑ Yes. Have you already specified the relative
              priority?                                          ❑ Disputed

              ❑   No. Specify each creditor, including this
                      creditor, and its relative priority.




              ❑   Yes. The relative priority of creditors is
                      specified on lines



     Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 3
               Case 21-03364               Doc 1        Filed 03/15/21 Entered 03/15/21 17:25:48                                 Desc Main
                                                         Document     Page 19 of 66
Debtor          Permian Basin Railways, I I C                                                     Case number (irk.)
               Name



Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.
If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                               On which line in Part 1       Last 4 digits of
         Name and address
                                                                                                               did you enter the             account number
                                                                                                               related creditor?             for this entity
    David M Unseth
    Bryan Cave Leighton Paisner LLP                                                                            Line 2. 1
    211 N. Broadway St., Suite 3600, St. Louis, MO 63102-2726
    Eric Prezant
    Bryan Cave Leighton Paisner LLP                                                                            Line 2. 1
    161 North Clark Street, Suite 4300, Chicago, IL 60601-3315
    Law Office of Richard M. Kates
    111 West Washington Street, Suite 1900                                                                     Line 2. 2
    Chicago, IL 60602


                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.




                                                                                                               Line 2.



Form 206D                         Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                  page 3 of 3
                  Case 21-03364          Doc 1         Filed 03/15/21 Entered 03/15/21 17:25:48                               Desc Main
  Fill in this information to identify the case:        Document     Page 20 of 66

  Debtor           Permian Basin Railways, Inc.
  United States Bankruptcy Court      Northern                     District of Illinois
                                                                             (State)
  Case number
   (If known)

                                                                                                                                   U Check if this is an
                                                                                                                                      amended filing
Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and aftach
the Additional Page of that Part included in this form.


Part 1:         List All Creditors with PRIORITY Unsecured Claims


1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
   U No. Go to Part 2.
   •    Yes. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
   3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                           Total claim             Priority amount
   Priority creditor's name and mailing address          As of the petition filing date, the claim is: $                   27.00              27.00
   Arizona Department of Revenue                         Check all that apply.
                                                          O Contingent
   1600 West Monroe Street
                                                          ❑ Unliquidated
   Phoenix, AZ 85007                                      O Disputed
   Date or dates debt was incurred                        Basis for the claim:
                                                          tax

   Last 4 digits of account                               Ithe claim subject to offset?
   number                                                 M No
                                                          O Yes
   Specify Code subsection of PRIORITY unsecured
   claim: 11 U.S.C. § 507(a) ( 8 )


   Priority creditor's name and mailing address          As of the petition filing date, the claim is: $                   23.95 $            23.95
   Department of Labor and Employment                    Check all that apply.
   633 17Th Street, Suite 500                             O Contingent
                                                          ❑ Unliquidated
   Denver, CO 80202-3660                                  O Disputed
   Date or dates debt was incurred                        Basis for the claim:
                                                          tax

   Last 4 digits of account                               Is the claim subject to offset?
   number                                                 WI No
                                                          O Yes
   Specify Code subsection of PRIORITY unsecured
   claim: 11 U.S.C. § 507(a) ( 8 )


   Priority creditor's name and mailing address          As of the petition filing date, the claim is:
   New TVlexico Taxation & Revenue Dept.                                                                                 5,253.58 $ 5,253.58
                                                         Check all that apply.
   1100 South St. Francis Drive                           O Contingent
                                                          ❑ Unliquidated
   Santa Fe, NM 87504                                     O Disputed
   Date or dates debt was incurred                        Basis for the claim:
                                                           tax

   Last 4 digits of account                               Is the claim subject to offset?
   number                                                 • No
                                                          O Yes
   Specify Code subsection of PRIORITY unsecured
   claim: 11 U.S.C. § 507(a) ( 8 )




Official Form 206E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                    page 1 of 14
                  Case  21-03364 Doc 1 Filed 03/15/21 Entered 03/15/21 17:25:48
                   Permian Basin Railways, Inc.
                                                                                                                                  Desc Main
  Debtor
                  Name                          Document Page 21 ofCase
                                                                    66 number (iknown)
              Additional Page


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
                                                                                                              Total claim              Priority amount
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.



2. 4    Priority creditor's name and mailing address                                                                          22.91 $             22.91
                                                          As of the petition filing date, the claim is:
                                                         Check all that apply.
        Pueblo County Treasurer                           O Contingent
                                                          ❑ Unliquidated
        215 West 10Th Street, Room 110                    O Disputed
        Pueblo, CO 81003-2968
        Date or dates debt was incurred                   Basis for the claim:
                                                          tax

        Last 4 digits of account                          Is the claim subject to offset?
        number                                            gi No
                                                          O Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) ( 8 )


2._5    Priority creditor's name and mailing address                                                                                          1,184.56
                                                                                                                            1,184.56
                                                          As of the petition filing date, the claim is:
                                                         Check all that apply.
        U.S. Railroad Retirement Board                    O Contingent
                                                          ❑ Unliquidated
        844 N Rush Street                                 0 Disputed
        Chicago, IL 60611-2092
        Date or dates debt was incurred                   Basis for the claim:
                                                          tax

        Last 4 digits of account                          Is the claim subject to offset?
        number                                            gl No
                                                          O Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) ( 8 )

2._6    Priority creditor's name and mailing address
                                                                                                          $                  788.23 $            788.23
                                                          As of the petition filing date, the claim is:
                                                         Check all that apply.
        Winkler County                                    O Contingent
        100 East Winkler Street                           ❑ Unliquidated
                                                          O Disputed
        Kermit, TX 79745
        Date or dates debt was incurred                   Basis for the claim:
                                                           tax

        Last 4 digits of account                          Is the claim subject to offset?
        number                                            Uf No
                                                          O Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) ( 8 )

2. 7    Priority creditor's name and mailing address                                                                    72,373.13            72,373.13
                                                          As of the petition filing date, the claim is: $
                                                                                                                                       $
                                                         Check all that apply.
        Wisconsin Department Of Revenue                   O Contingent
        2135 Rimrock Rd.                                  ❑ Unliquidated
                                                          O Disputed
        Madison, WI 53713
        Date or dates debt was incurred                   Basis for the claim:
                                                          tax

        Last 4 digits of account                          Is the claim subject to offset?
        number                                            it No
                                                          O Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) ( 8 )




       Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                               page 2of 14
               Case 21-03364              Doc 1        Filed 03/15/21 Entered 03/15/21 17:25:48                               Desc Main
  Debtor        Permian Basin Railways, Inc.
               Name                                     Document     Page 22 ofCase
                                                                                66 number (if known)
 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                           Amount of claim

3.1 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:
                                                                       Check all that apply.                                                  1,082.22
    Alex Smith                                                         ❑ Contingent
                                                                       ❑ Unliquidated
    1203 Ronald Drive                                                  ❑ Disputed
    Anderson, IN 46013
                                                                       Basis for the claim: trade

    Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                       ▪ No
    Last 4 digits of account number                                    ❑ Yes

3.2 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:
                                                                       Check all that apply.                                                 46,867.87
    ASCAP                                                              ❑ Contingent
                                                                       ❑ Unliquidated
    21678 Network Place                                                ❑ Disputed
    Chicago, IL 60673-1216
                                                                       Basis for the claim: trade

    Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                       RI No
    Last 4 digits of account number                                    ❑ Yes

3.3 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:
                                                                       Check all that apply.                           $                      2,832.28
    Bandt Communications Inc.                                          ❑ Contingent
                                                                       ❑ Unliquidated
    1346 Excalibur Drive                                               ❑ Disputed
    Janesville, WI 53546
                                                                       Basis for the claim: trade

    Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                       eu No
    Last 4 digits of account number                                    ❑ Yes

3.4 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:
                                                                       Check all that apply.                           $                      3,242.25
     Bill Clark Truck Line, Inc.
                                                                       ❑ Contingent
    311 6th Street                                                     ❑ Unliquidated
                                                                       ❑ Disputed
    Alamosa, CO 81101
                                                                       Basis for the claim: trade

    Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                       au No
    Last 4 digits of account number                                    ❑ Yes
3.5 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:
                                                                       Check all that apply.                           $                     15,702.24
    Canadian National
                                                                       ❑ Contingent
    935 de La Gauchetiere Street West                                  ❑ Unliquidated
                                                                       ❑ Disputed
    Montreal, Quebec, Canada, H3B 2M9
                                                                       Basis for the claim: Judgment, 7/11/2018, Cook County Cit. Ct. 2018-M1-113053

    Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                       eu No
    Last 4 digits of account number                                    ❑ Yes

3.6 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:
                                                                       Check all that apply.
                                                                                                                       $                          500.00
    Central Washington Railroad Company
                                                                       ❑ Contingent
    111 University Parkway, Suite 200                                  ❑ Unliquidated
                                                                       ❑ Disputed
    Yakima, WA 98901
                                                                       Basis for the claim: trade

    Date or dates debt was incurred                                    Is the claim subject to offset?
                                                                       • No
    Last 4 digits of account number                                    ❑ Yes



   Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page _3_ of 14
                 Case 21-03364            Doc 1          Filed 03/15/21 Entered 03/15/21 17:25:48                        Desc Main
  Debtor          Permian Basin Railways, Inc.            Document     Page 23 ofCase
                                                                                  66 number (iknown)
                 Name



Part 2:      Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.7 Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:
                                                                    Check all that apply.                                                    178.11
       CenturyLink                                                  U   Contingent
                                                                    ❑   Unliquidated
                                                                    U   Disputed
       100 Centurylink Drive                                        U   Liquidated and neither contingent nor
       Monroe, LA 71203                                                 disputed

                                                                    Basis for the claim:   trade

       Date or dates debt was incurred                              Is the claim subject to offset?
                                                                    RI No
       Last 4 digits of account number                              U Yes


       Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                                                  8,236.85
       Coastal Chemical Co. LLC                                     U Contingent
                                                                    ❑ Unliquidated
       5300 Memorial Drive, Suite 1020                              U Disputed
       Houston, TX 77007
                                                                    Basis for the claim:   trade

       Date or dates debt was incurred                              Is the claim subject to offset?
                                                                    RI No
       Last 4 digits of account number                              U Yes


3.9    Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     18,904.00
        Cox Media Group Tulsa                                       U Contingent
                                                                    ❑ Unliquidated
       11811 E 51st Street South                                    U Disputed
       Tulsa, OK 07146
                                                                    Basis for the claim:   trade
       Date or dates debt was incurred                              Is the claim subject to offset?
                                                                    Ii No
       Last 4 digits of account number                              U Yes

       Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     10,850.17
       Creative Colors International
                                                                    U Contingent
                                                                    ❑ Unliquidated
       3020-i Prosperity Church Rd. , Suite 155                     0 Disputed
       Charlotte, NC 28269
                                                                    Basis for the claim:   trade
       Date or dates debt was incurred                              Is the claim subject to offset?
                                                                    if No
       Last 4 digits of account number                              U Yes



3.11 Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                    $                        165.00
       CT Corporation
                                                                    U Contingent
                                                                    ❑ Unliquidated
       301 S BEDFORD ST, SUITE 1                                    U Disputed
       Madison, WI 53703
                                                                    Basis for the claim:   trade
       Date or dates debt was incurred                              Is the claim subject to offset?
                                                                    WI No
       Last 4 digits of account number                              U Yes




      Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                          page _4_ of 14
                 Case 21-03364            Doc 1          Filed 03/15/21 Entered 03/15/21 17:25:48                        Desc Main
  Debtor          Permian Basin Railways, Inc.            Document     Page 24 ofCase
                                                                                  66 number (iknown)
                 Name



Part 2:      Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.j    Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:
                                                                    Check all that apply.                                                 94,254.00
       DOT/FRA                                                      U   Contingent
                                                                    ❑   Unliquidated
                                                                    U   Disputed
       100 New Jersey Avenue, S.E.                                  U   Liquidated and neither contingent nor
       Washington, D.C. 20590                                           disputed

                                                                    Basis for the claim:

       Date or dates debt was incurred                              Is the claim subject to offset?
                                                                    RI No
       Last 4 digits of account number                              U Yes


3.13 Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                                                   650.89
       FDGL                                                         U Contingent
                                                                    ❑ Unliquidated
       5565 Glenridge Connector NE, Suite 2000                      U Disputed
       Atlanta, GA 30342
                                                                    Basis for the claim:   trade

       Date or dates debt was incurred                              Is the claim subject to offset?
                                                                    RI No
       Last 4 digits of account number                              U Yes


3. 14 Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      9,080.46
        Foster Printing Service, Inc                                U Contingent
                                                                    ❑ Unliquidated
       4295 Ohio Street                                             U Disputed
       Michigan City, IN 46360
                                                                    Basis for the claim:   trade
       Date or dates debt was incurred                              Is the claim subject to offset?
                                                                    Ii No
       Last 4 digits of account number                              U Yes

       Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     32,014.08
       Gregory, Stephen
                                                                    U Contingent
                                                                    ❑ Unliquidated
       800 Pearl Street, Apt. 1204                                  U Disputed
       Denver, CO 80208
                                                                    Basis for the claim:   note
       Date or dates debt was incurred                              Is the claim subject to offset?
                                                                    if No
       Last 4 digits of account number                              U Yes



       Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      8,600.00
       Idea Marketing Group, Inc.
                                                                    U Contingent
                                                                    ❑ Unliquidated
       1939 S Bridge Street                                         U Disputed
       Yorkville, IL 60560
                                                                    Basis for the claim:   trade
       Date or dates debt was incurred                              Is the claim subject to offset?
                                                                    WI No
       Last 4 digits of account number                              U Yes




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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.17 Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:
                                                                    Check au that apply.                                                      41.15
     J.J. Keller & Associates, Inc.                                 O   Contingent
                                                                    ❑   Unliquidated
                                                                    U   Disputed
     3003 Breezewood Lane                                           U   Liquidated and neither contingent nor
     Neenah, WI 54956                                                   disputed

                                                                    Basis for the claim:   trade

     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    RI No
     Last 4 digits of account number                                U Yes


3.18 Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check that apply.                               $                        593.12
     JMA Rail Products Co.                                          U Contingent
                                                                    ❑ Unliquidated
     835 East 10th Street                                           U Disputed
     Seymour, IN 47274
                                                                    Basis for the claim:   trade

     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    RI No
     Last 4 digits of account number                                U Yes


3.1a Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check that apply.                               $                     58,268.85
     .L&G Law Group LLP
                                                                    U Contingent
                                                                    ❑ Unliquidated
     175 W. Jackson Blvd., Ste. 950                                 U Disputed
     Chicago, IL 60604
                                                                    Basis for the claim:   legal services
     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    Ii No
     Last 4 digits of account number                                U Yes

     Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check that apply.                               $                      3,908.28
     Liberty Oil Company. LLC
                                                                    U Contingent
                                                                    ❑ Unliquidated
     301 North Woody Guthrie Street                                 U Disputed
     Okemah, OK 74859
                                                                    Basis for the claim:   trade
     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    if No
     Last 4 digits of account number                                U Yes



3.21 Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check that apply.                               $                     55,056.66
     Lou Hammond & Associates
                                                                    U Contingent
                                                                    ❑ Unliquidated
     145 King Street                                               U Disputed
     Charleston, SC 29401
                                                                    Basis for the claim:   trade
     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    WI No
     Last 4 digits of account number                                U Yes




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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.22 Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                                                 75,576.00
     Lubbock & Western Railway, LLC                                 U   Contingent
                                                                    ❑   Unliquidated
                                                                    U   Disputed
     103 North Steck Avenue                                         U   Liquidated and neither contingent nor
     Wolfforth, TX 79382                                                disputed

                                                                    Basis for the claim:   trade

     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    RI No
     Last 4 digits of account number                                U Yes


3.2 Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      3,200.00
     M Bar D. LLC                                                   U Contingent
                                                                    ❑ Unliquidated
     131 S. Dearborn, 6th Floor                                     U Disputed
     Chicago, IL 60603
                                                                    Basis for the claim:   trade

     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    RI No
     Last 4 digits of account number                                U Yes


3.24 Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     14,500.17
      McConville, Hugh Michael                                      U Contingent
                                                                    ❑ Unliquidated
     9436 N Tolles Road                                            U Disputed
     Evansville, WI 53536
                                                                    Basis for the claim:

     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    Ii No
     Last 4 digits of account number                                U Yes


3.25 Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:   $ unknown
                                                                    Check all that apply.
     Nations Fund I, LLC
                                                                    U Contingent
                                                                    ❑ Unliquidated
     501 Merritt 7                                                  U Disputed
     Norwalk, CT 06851
                                                                    Basis for the claim: Consent judgment 8/12/2019 ND III. 19-cv-02307

     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    U No
     Last 4 digits of account number                                U Yes



3.26 Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     17,652.00
     Norfolk Southern Corporation
                                                                    U Contingent
                                                                    ❑ Unliquidated
     Attn: Tom Washbon                                              U Disputed
     4600 Deer Path Road, Harrisburg, PA 17110
                                                                    Basis for the claim:   trade
     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    WI No
     Last 4 digits of account number                                U Yes




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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.27 Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:
                                                                    Check au that apply.                                                  12,763.62
     Pan American Railway Co.                                       O   Contingent
                                                                    ❑   Unliquidated
                                                                    U   Disputed
     5718 Westheimer, Suite 800                                     U   Liquidated and neither contingent nor
     Houston, TX 77057                                                  disputed

                                                                    Basis for the claim:   trade

     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    RI No
     Last 4 digits of account number                                U Yes


3.2g Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      8,000.00
     Port Containers                                                U Contingent
                                                                    ❑ Unliquidated
     1725 DeSales Street, NW, Suite 650                             U Disputed
     Washington, D.C. 20036
                                                                    Basis for the claim:   trade

     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    RI No
     Last 4 digits of account number                                U Yes


3.29 Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      1,725.27
      Power Rail Distribution                                       U Contingent
                                                                    ❑ Unliquidated
     205 Clark Road                                                 U Disputed
     Duryea, PA 18642
                                                                    Basis for the claim:   trade
     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    Ii No
     Last 4 digits of account number                                U Yes


3.3.0 Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                                           1,350.00
     PSE, Inc.
                                                                    U Contingent
                                                                    ❑ Unliquidated
     P.O. Box 659                                                   U Disputed
     212 East Sixth Street, Tulsa, OK 74119
                                                                    Basis for the claim:   trade
     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    if No
     Last 4 digits of account number                                U Yes



3.31 Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                    $                       839.10
     Publication Design, Inc.
                                                                    U Contingent
                                                                    ❑ Unliquidated
     3798 Marshall St., Suite 1A                                    U Disputed
     Wheat Ridge, CO 80033
                                                                    Basis for the claim:   trade
     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    WI No
     Last 4 digits of account number                                U Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.32 Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                                                  3,387.88
     R. B. Hornberger Co Inc.                                       U   Contingent
                                                                    ❑   Unliquidated
                                                                    U   Disputed
     3900 24Th Ave Bay 2                                            U   Liquidated and neither contingent nor
     Forest Grove, OR 97116                                             disputed

                                                                    Basis for the claim:   trade

     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    RI No
     Last 4 digits of account number                                U Yes


3.33 Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                                           1,418.00
     Rail Term Corp.                                                U Contingent
                                                                    ❑ Unliquidated
     10765 Cote de Liesse, Suite 201                                U Disputed
     Dorval, Quebec H9P 2R9
                                                                    Basis for the claim:   trade

     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    RI No
     Last 4 digits of account number                                U Yes


3.34 Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 3,262,593.01
      Sandton Rail Company, LLC                                     U Contingent
                                                                    ❑ Unliquidated
     16 West 46th Street, 11th Floor                                O Disputed
     New York, NY 10036
                                                                    Basis for the claim:Assignment of judgment from VFI KR SPE I LLC (Varilease)

     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    U No
     Last 4 digits of account number                                U Yes


335_ Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                    $                     26,548.72
     Stillwater Central Railroad, LLC
                                                                    U Contingent
                                                                    ❑ Unliquidated
     900 South Byers Avenue                                         U Disputed
     Oklahoma City, OK 72129
                                                                    Basis for the claim:   trade
     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    if No
     Last 4 digits of account number                                U Yes



3.36 Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                    $                     27,000.00
     T.G. Mercer Consulting Services
                                                                    0 Contingent
                                                                    ❑ Unliquidated
     120 El Chico Trail                                             0 Disputed
     Willow Park, TX 76807
                                                                    Basis for the claim:   trade
     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    O No
     Last 4 digits of account number                                U Yes




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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.31   Nonpriority creditor's name and mailing address              As of the petition filing date, the claim is:
                                                                    Check all that apply.                                                  1,299.00
       TAJ Company                                                  U   Contingent
                                                                    ❑   Unliquidated
                                                                    U   Disputed
       601 Airport Blvd., Suite B                                   U   Liquidated and neither contingent nor
       South San Francisco, CA 94080-4666                               disputed

                                                                    Basis for the claim:   trade

       Date or dates debt was incurred                              Is the claim subject to offset?
                                                                    RI No
       Last 4 digits of account number                              U Yes


3.35 Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                                                    680.40
       The Andersons, Inc.                                          U Contingent
                                                                    ❑ Unliquidated
       1947 Briarfield Boulevard                                    U Disputed
       Maumee, OH 43537
                                                                    Basis for the claim:   trade

       Date or dates debt was incurred                              Is the claim subject to offset?
                                                                    RI No
       Last 4 digits of account number                              U Yes


       Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     85,788.02
       Trinity Rail Management, Inc.                                U Contingent
                                                                    ❑ Unliquidated
       2525 Stemmons Freeway                                        U Disputed
       Dallas, TX 75207
                                                                    Basis for the claim:   trade
       Date or dates debt was incurred                              Is the claim subject to offset?
                                                                    Ii No
       Last 4 digits of account number                              U Yes

3.4.0 Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      1,977.60
       Trumble Crane & Rigging
                                                                    U Contingent
                                                                    ❑ Unliquidated
       312 NE Loop                                                  0 Disputed
       Lubbock, TX 79403
                                                                    Basis for the claim:   trade
       Date or dates debt was incurred                              Is the claim subject to offset?
                                                                    if No
       Last 4 digits of account number                              U Yes



3.41 Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      5,000.00
       United Rail Contracting, Inc.
                                                                    U Contingent
                                                                    ❑ Unliquidated
       3713 Chippewa Trail                                         U Disputed
       Billings, MT 59106
                                                                    Basis for the claim:   note
       Date or dates debt was incurred                              Is the claim subject to offset?
                                                                    WI No
       Last 4 digits of account number                              U Yes




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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.



3.42 Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                                                 530,346.00
     United Rail Contracting, Inc.                                  U   Contingent
                                                                    ❑   Unliquidated
                                                                    U   Disputed
     3713 Chippewa Trail                                            U   Liquidated and neither contingent nor
     Billings, MT 59106                                                 disputed

                                                                    Basis for the claim:   trade

     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    RI No
     Last 4 digits of account number                                U Yes


3.43 Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                                                     999.90
     United Rentals                                                 U Contingent
                                                                    ❑ Unliquidated
     100 First Stamford Place                                       U Disputed
     Stamford, CT 06902
                                                                    Basis for the claim:   trade

     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    RI No
     Last 4 digits of account number                                U Yes


344 Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                       2,102.46
     Watco Companies, Inc.                                          U Contingent
                                                                    ❑ Unliquidated
     315 West 3rd Street                                            U Disputed
     Pittsburg, KS 66762
                                                                    Basis for the claim:   trade
     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    Ii No
     Last 4 digits of account number                                U Yes


3.45 Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                       2,300.00
     Western Assoc of Travel Agencies
                                                                    U Contingent
                                                                    ❑ Unliquidated
     5933 NE Win Sivers Dr., Suite 202                             U Disputed
     Portland, OR 97220
                                                                    Basis for the claim:   trade
     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    if No
     Last 4 digits of account number                                U Yes



3.46 Nonpriority creditor's name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      23,507.50
     WGN AM
                                                                    U Contingent
                                                                    ❑ Unliquidated
     303 East Wacker Drive, 18th floor                              U Disputed
     Chicago, IL 60601
                                                                    Basis for the claim:   trade
     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    WI No
     Last 4 digits of account number                                U Yes




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     Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                      Amount of claim
     previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.4z Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:
                                                                      Check all that apply.                                             1,950.00
        Wide Eye Productions                                          U Contingent
                                                                      ❑ Unliquidated
                                                                      U Disputed
        Robert Van Camp, 301 North Main Street,                       U Liquidated and neither contingent nor
        22nd Floor, Suite 2207, Winston Salem, NC 27101                  disputed

                                                                      Basis for the claim: trade

        Date or dates debt was incurred                               Is the claim subject to offset?
                                                                      RI No
        Last 4 digits of account number                               U Yes


3.48 Nonpriority creditor's name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.                                              396.00
        Yellow Pages United                                           U Contingent
                                                                      ❑ Unliquidated
        115 Penman Road                                               U Disputed
        Neptune Beach, FL 32266
                                                                      Basis for the claim: trade

        Date or dates debt was incurred                               Is the claim subject to offset?
                                                                      RI No
        Last 4 digits of account number                               U Yes


3.      Nonpriority creditor's name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                      U Contingent
                                                                      ❑ Unliquidated
                                                                     U Disputed

                                                                      Basis for the claim:

        Date or dates debt was incurred                               Is the claim subject to offset?
                                                                      U No
        Last 4 digits of account number                               U Yes


3.      Nonpriority creditor's name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                      U Contingent
                                                                      ❑ Unliquidated
                                                                     U Disputed

                                                                      Basis for the claim:

        Date or dates debt was incurred                               Is the claim subject to offset?
                                                                      U No
        Last 4 digits of account number                               U Yes



3.      Nonpriority creditor's name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                      U Contingent
                                                                      ❑ Unliquidated
                                                                     U Disputed

                                                                      Basis for the claim:

        Date or dates debt was incurred                               Is the claim subject to offset?
                                                                      U No
        Last 4 digits of account number                               U Yes




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Part 3:            List Others to Be Notified About Unsecured Claims


4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
    assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


            Name and mailing address                                                          On which line in Part 1 or Part 2 is the         Last 4 digits of
                                                                                              related creditor (if any) listed?                account number, if
                                                                                                                                               any

4.1.     Ronald S. Beecher, Pryor Cashman LLP                                                 Line 3.34
         7 Times Square, New York, New York 10036-6569                                        ❑ Not listed. Explain


4.2.                                                                                          Line

                                                                                              ❑      Not listed. Explain


4.3.                                                                                          Line
                                                                                              ❑      Not listed. Explain


4.4.                                                                                          Line
                                                                                              ❑      Not listed. Explain


4.5.                                                                                          Line
                                                                                              ❑      Not listed. Explain


4.6.                                                                                          Line
                                                                                              ❑      Not listed. Explain


4.7.                                                                                          Line

                                                                                              ❑      Not listed. Explain


4.8.                                                                                          Line

                                                                                              ❑      Not listed. Explain


4.9.                                                                                          Line
                                                                                              ❑      Not listed. Explain


4.10.                                                                                         Line
                                                                                              ❑      Not listed. Explain


4.11.                                                                                         Line
                                                                                              ❑      Not listed. Explain


4.12.
                                                                                              Line

                                                                                              ❑      Not listed. Explain




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Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                 Total of claim amounts



5a. Total claims from Part 1                                                               5a.                      79,673.36



5b. Total claims from Part 2                                                               5b.                  4,483,929.13



5c. Total of Parts 1 and 2
                                                                                           5c.                  4,563,602.49
   Lines 5a + 5b = 5c.




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 Fill in this information to identify the case:

 Debtor name Permian Basin Railways, Inc.

 United States Bankruptcy Court for the:Northern                   District of Illinois
                                                                              (State)
 Case number (If known):                                            Chapter     7


                                                                                                                                       U Check if this is an
                                                                                                                                          amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If more space is needed, copy and aftach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
       ki No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
       U Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


         State what the contract or
 2.1     lease is for and the nature
         of the debtor's interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.2     lease is for and the nature
         of the debtor's interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.3     lease is for and the nature
         of the debtor's interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2A
         lease is for and the nature
       I of the debtor's interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor's interest

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of
               Case 21-03364                    Doc 1   Filed 03/15/21 Entered 03/15/21 17:25:48                                 Desc Main
                                                         Document     Page 35 of 66
 Fill in this information to identify the case:

 Debtor name    Permian Basin Railways, Inc.

 United States Bankruptcy Court for the:   Northern                District of   Illinois
                                                                                 (State)
 Case number (If known):




                                                                                                                                       ❑ Check if this is an
                                                                                                                                         amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Aftach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
      ❑ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
      IA Yes

 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
     schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

       Column 1: Codebtor                                                                               Column 2: Creditor

                                                                                                                                           Check all schedules
           Name                                                                                         Name
                                                                                                                                           that apply:

2.1 Heritage Rail Leasing, LLC         1 Parker Place, Ste. 112                                         Big Shoulders Capital, LLC         • D
                                                                                                                                           ❑ E/F
                                                                                                                                           ❑ G

                                           Janesville, WI 53545
                                       City                     State                  ZIP Code

2.2
      Mt. Hood Railroad Company            110 RAILROAD AVE.                                            Big Shoulders Capital, LLC         • D
                                       Street                                                                                              ❑ E/F
                                                                                                                                           ❑ G
                                       HOOD RIVER, OR 97031
                                       City                     State                  ZIP Code

2.3
      Chicago Terminal Railroad            1 Parker Place, Ste. 112                                     Big Shoulders Capital, LLC         • D
      Company                                                                                                                              ❑ E/F
                                                                                                                                           ❑ G

                                       Janesville, WI 53545
                                       City                     State

2.4
       Saratoga and North Creek        118 S. CLINTON ST., SUITE 400                                   Big Shoulders Capital, LLC          4 D
       Railway, LLC                                                                                                                        ❑ E/F
                                                                                                                                           ❑ G

                                       CHICAGO, IL 60661
                                       City                     State                  ZIP Code

2.5
      San Luis &Rio Grande             10 South LaSalle Street, Suite 3300                             Big Shoulders Capital, LLC          • D
      Rairoad, Inc.                    Street                                                                                              ❑ E/F
                                                                                                                                           ❑ G

                                       Chicago, IL 60603
                                       City                     State                  ZIP Code

2.6    Iowa Pacific Holdings, LLC      1 Parker Place, Ste. 112                                         Big Shoulders Capital, LLC         • D
                                       Street                                                                                              ❑ E/F
                                                                                                                                           ❑ G

                                       Janesville, WI 53545
                                       City                     State                  ZIP Code



Official Form 206H                                             Schedule H: Codebtors                                                         page 1 of 4
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Debtor            Permian Basin Railways, Inc.                                         Case number (,iknown)
                 Name




             Additional Page if Debtor Has More Codebtors


            Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                             Check all schedules
             Name                    Mailing address                                           Name
                                                                                                                             that apply:


 2.L Edwin Ellis                     317 S. CATHERINE AVE.                                     Big Shoulders Capital, LLC    • D
                                     Street                                                                                  ❑ E/F
                                                                                                                             ❑ G

                                     LA GRANGE, IL 60525
                                     City                    State          ZIP Code

 2.8
   —     Austin & Northwestern       109 E. Texas Ave.                                        Sandton Rail Company, LLC      ❑ D
         Railroad Company,                                                                                                   afE/F
         Inc.                                                                                                                ❑ G

                                     Eunice, NM 88231
                                     City                    State          ZIP Code


 2.9      Cape Rail, Inc.            12 HARDING ST SUITE 201-202                              Sandton Rail Company, LLC      ❑ D
                                     Street                                                                                  • E/F
                                                                                                                             ❑ G

                                     LAKEVILLE, MA 02347
                                     City                    State          ZIP Code

 2 10
  '— Heritage Rail Leasing, LLC       1 Parker Place, Ste. 112                                 Sandton Rail Company, LLC     ❑ D
                                                                                                                             • E/F
                                                                                                                             ❑ G

                                     Janesville, WI 53545
                                     City                    State          ZIP Code

 2. 11
  - Hoosier State Train, LLC         118 SOUTH CLINTON ST/STE 400                              Sandton Rail Company, LLC     ❑ D
                                     Street                                                                                  • E/F
                                                                                                                             ❑ G

                                      CHICAGO, IL 60661
                                     City


 2.12 Isla Largo, LLC                118 SOUTH CLINTON ST/STE 400                              Sandton Rail Company, LLC     ❑ D
                                                                                                                             • E/F
                                                                                                                             ❑ G

                                     CHICAGO, IL 60661
                                     City                    State          ZIP Code


 2.13 Key Tours International
                                     11096 LEE HWY STE B104                                    Sandton Rail Company, LLC     ❑ D
                                     Street                                                                                  • E/F
                                                                                                                             ❑ G

                                     FAIRFAX VA 22030
                                     City                    State          ZIP Code

 2.14
   -     Mt. Hood Railroad Company    110 RAILROAD AVE.                                        Sandton Rail Company, LLC     ❑ D
                                     Street                                                                                  • E/F
                                                                                                                             ❑ G
                                     HOOD RIVER, OR 97031
                                     City                    State          ZIP Code




 Official Form 206H                                       Schedule H: Codebtors                                                   page 2 of 4
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Debtor             Permian Basin Railways, Inc.                                         Case number (iknown)
                  Name



              Additional Page if Debtor Has More Codebtors


             Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                              Check all schedules
              Name                    Mailing address                                          Name
                                                                                                                              that apply:


 2.15 Iowa Pacific Holdings, LLC      1 Parker Place, Ste. 112                                  Sandton Rail Company, LLC     ❑ D
                                      Street                                                                                  Cd E/F
                                                                                                                              ❑ G
                                      Janesville, WI 53545
                                      City                    State          ZIP Code

2
-
  •—
   16 Piedmont Railway, LLC           118 S. Clinton St., Ste. 400                              Sandton Rail Company, LLC     ❑ D
                                                                                                                                E/F
                                                                                                                              ❑ G

                                      Chicago, IL 60661
                                      City                    State          ZIP Code

 2. 17
          Rusk, Palestine & Pacific
                                      1 Parker Place, Ste. 112                                 Sandton Rail Company, LLC      ❑ D
          Railroad, Inc.              Street                                                                                  ▪ E/F
                                                                                                                              ❑ G
                                      Janesville, WI 53545
                                      City                    State          ZIP Code


 2.18
         Santa rru, and Monterey       118 S. Clinton St., Ste. 400                             Sandton Rail Company, LLC     ❑ D
         Bay Railway Company          Street                                                                                    E/F
                                                                                                                              ❑ G

                                      Chicago, IL 60661
                                      City                    State          ZIP Code

 2. 19
   — Saratoga and North Creek         118 S. Clinton St., Ste. 400                              Sandton Rail Company, LLC     ❑ D
       Railway, LLC                   Street                                                                                  • E/F
                                                                                                                              ❑ G
                                       Chicago, IL 60661
                                      City                                   ZIP Code

2. 2t.
-
          The Pullman Sleeping Car    118 S. Clinton St., Ste. 400                               Sandton Rail Company, LLC    ❑ D
          Company, LLC                Street                                                                                  • E/F
                                                                                                                              ❑ G
                                      Chicago, IL 60661
                                      City                    State          ZIP Code


 2.21
          West Texas and I iihbrink   118 S. Clinton St., Ste. 400                              Sandton Rail Company, LLC     ❑ D
          Railroad Company, Inc.      street                                                                                  • E/F
                                                                                                                              ❑ G
                                      Chicago, IL 60661
                                      City                    State          ZIP Code

 2.22
   —       Edwin Ellis,                317 S. CATHERINE AVE.                                    Sandton Rail Company, LLC     ❑ D
                                      Street                                                                                  ▪ E/F
                                                                                                                              ❑ G
                                      LA GRANGE, IL 60525
                                      City                    State          ZIP Code




  Official Form 206H                                       Schedule H: Codebtors                                                  page _3_ of A_
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Debtor           Permian Basin Railways, Inc.                                           Case number (trkio.n)
                Name




            Additional Page if Debtor Has More Codebtors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                            Check all schedules
            Name                      Mailing address                                           Name                        that apply:

 2.23
         Chicago Terminal Railroad    1 Parker Place, Ste. 112                                  Sandton Rail Company LLC    ❑ D
         Company                      Street                                                                                • E/F
                                                                                                                            ❑ G

                                      Janesville, WI 53545
                                      City                   State          ZIP Code

 2.24
   —     Iowa Pacific Holdings, LLC   1 Parker Place, Ste. 112                                 Nations Fund I, LLC          ❑ D
                                      Street                                                                                  E/F
                                                                                                                            ❑ G

                                      Janesville, WI 53545
                                      City                   State          ZIP Code

 2. 25
   — Heritage Rail Leasing, LLC       1 Parker Place, Ste. 112                                  Nations Fund I, LLC         ❑ D
                                      Street                                                                                ltif E/F
                                                                                                                            ❑ G

                                      Janesville, WI 53545
                                      City                   State          ZIP Code


 2.
                                                                                                                            ❑ D
                                      Street                                                                                ❑ E/F
                                                                                                                            ❑ G


                                      City                   State          ZIP Code

 2.
                                                                                                                            ❑ D
                                      Street                                                                                ❑ E/F
                                                                                                                            ❑ G


                                      City                   State          ZIP Code


 2.
                                                                                                                            ❑ D
                                      Street                                                                                ❑ E/F
                                                                                                                            ❑ G


                                      City                    State         ZIP Code


 2.
                                                                                                                            ❑ D
                                      Street                                                                                ❑ E/F
                                                                                                                            ❑ G


                                      City                    State         ZIP Code

 2.
                                                                                                                            ❑ D
                                      Street                                                                                ❑ E/F
                                                                                                                            ❑ G


                                      City                    State          ZIP Code




  Official Form 206H                                       Schedule H: Codebtors                                                page 4 of 4
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 Fill in this information to identify the case and this filing:


 Debtor Name    Permian Basin Railways, Inc.
 United States Bankruptcy Court for the:   Northern                 District of    Illinois
                                                                                  (State)
 Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


        WI     Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)

         I4 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

        W1 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

        10 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

               Schedule H: Codebtors (Official Form 206H)

        14 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

         ❑     Amended Schedule


         ❑     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         ❑     Other document that requires a declaration




        I declare under penalty of perjury that the foregoing is true and corn


        Executed on        03/15/2021                       x
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Edwin Ellis
                                                                Printed name

                                                                  Director
                                                                Position or relationship to debtor



Official Form 202                             Declaration Under Penalty of Perjury for Non-Individual Debtors
               Case 21-03364                 Doc 1          Filed 03/15/21 Entered 03/15/21 17:25:48                                Desc Main
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Fill in this information to identify the case:

Debtor name    Permian Basin Railways, Inc.
United States Bankruptcy Court for the:   Northern                    District of IL
                                                                                 (State)
Case number (If known):



                                                                                                                                         ❑ Check if this is an
                                                                                                                                           amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                        04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor's name and case number (if known).



 Part 1:         Income



 1. Gross revenue from business

     Ei None

            Identify the beginning and ending dates of the debtor's fiscal year, which          Sources of revenue                     Gross revenue
            may be a calendar year                                                              Check all that apply                   (before deductions and
                                                                                                                                       exclusions)

          From the beginning of the                                                                 Operating a business
          fiscal year to filing date:        From 01/01/2021          to     Filing date        ❑ Other
                                                  mm / DD / YYYY

          For prior year:                    From    01/01/2020 to            12/31/2020        El Operating a business
                                                     mm / DD / YYYY            MM / DD / YYYY
                                                                                                ❑ Other

          For the year before that:          From    01/01/2019 to
                                                     mm / DD / YYYY
                                                                              12/31/2019
                                                                               MM / DD / YYYY
                                                                                                1 Operating a business
                                                                                                ❑ Other




 2. Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
     from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     kr None


                                                                                                Description of sources of revenue      Gross revenue from each
                                                                                                                                       source
                                                                                                                                       (before deductions and
                                                                                                                                       exclusions)

           From the beginning of the
           fiscal year to filing date:       From                     to      Filing date
                                                     nain DD / YYYY


           For prior year:                   From                     to
                                                     MM / DD / YYYY            MM / DD / YYYY




           For the year before that:         From                     to
                                                     nowi DD/YYYY              MM / DD / YYYY




 Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
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Debtor             Permian Basin Railways, Inc.                                                Case number (if known)
                   Name




 Part 2:       List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
    adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

     ' None

            Creditor's name and address                         Dates         Total amount or value          Reasons for payment or transfer
                                                                                                             Check all that apply
     3.1.
                                                                                                             ❑     Secured debt
                                                                              $
            Creditor's name
                                                                                                             ❑     Unsecured loan repayments
            Street                                                                                           ❑     Suppliers or vendors
                                                                                                             ❑     Services

            City                          State    ZIP Code                                                  ❑     Other

     3.2.
                                                                                                             ❑     Secured debt
                                                                              $
            Creditor's name
                                                                                                             ❑     Unsecured loan repayments
            Street                                                                                           ❑     Suppliers or vendors
                                                                                                             ❑     Services

            City                          State    ZIP Code                                                  ❑     Other


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
    general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
    the debtor. 11 U.S.C. § 101(31).

    El None

            Insider's name and address                          Dates         Total amount or value         Reasons for payment or transfer
     4.1.

                                                                             $
            Insider's name


            Street




            City                          State    ZIP Code


            Relationship to debtor



     4.2.


            Insider's name


            Street




            City                          State    ZIP Code



            Relationship to debtor




Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 2
                    Case 21-03364             Doc 1          Filed 03/15/21 Entered 03/15/21 17:25:48                                               Desc Main
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Debtor               Permian Basin Railways, Inc.                                                         Case number (if known)
                    Name




 5. Repossessions, foreclosures, and returns
    List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
    sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

     MI None
            Creditor's name and address                            Description of the property                                             Date                       Value of property
     5.1.


            Creditor's name

            Street



            City                          State       ZIP Code
     5.2.

                                                                                                                                                                        $
            Creditor's name

            Street



            City                          State       ZIP Code


 103.Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a debt.
     kr None

             Creditor's name and address                              Description of the action creditor took                              Date action was                 Amount
                                                                                                                                           taken

                                                                                                                                                                      $
             Creditor's name

             Street


                                                                    Last 4 digits of account number: )000(—
             City                          State       ZIP Code


  Part 3: Legal Actions or Assignments
 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

     ❑ None
        Case title                                        Nature of case                           Court or agency's name and address                                  Status of case
         Big Shoulders Capital LLC v. SLRG
     7.1.
                                                           Receivership                          United States District Court for the Northern District of Illinois    ❑    Pending
                                                                                                 Name
                                                                                                                                                                       ❑    On appeal
                                                                                                  Dirksen Federal Bldg
             Case number                                                                         Street                                                                er Concluded
                                                                                                  219 S Dearborn Street
              19-cv-06029                                                                         Chicago, IL 60604
                                                                                                 City                         State                    ZIP Code


             Case title                                                                            Court or agency's name and address
             In re San  Luis & Rio Grande                                                                                                                              kr Pending
     7.2.
              Railroad, Inc.                               Chapter 11                            United States Bankrutpcy Court for the District of Colorado           ❑    On appeal
                                                                                                 Name
                                                                                                                                                                       ❑    Concluded
             Case number
                                                                                                 Street
                                                                                                  721 19th Street
             19-18905
                                                                                                  Denver, CO 80202
                                                                                                 City                                   State          ZIP Code


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Debtor               Permian Basin Railways, Inc.                                                   Case number (if known)
                     Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     ❑ None
              Custodian's name and address                        Description of the property                        Value

              Novo Advisors / Sandeep Gupta                       All property                                       $
             Custodian's name
              401 N Franklin St.                                  Case title                                         Court name and address
             Street                                               Big Shoulders Capital LLC v. SLRG
                                                                                                                    United States District Court for the Northern District of Illinois
              Suite 4 East
                                                                                                                   Name
              Chicago, IL 60654                                   Case number                                       Dirksen Federal Bldg
             City                         State      ZIP Code
                                                                                                                   Street
                                                                  19-cv-06029                                        219 S Dearborn Street
                                                                  Date of order or assignment                        Chicago, IL 60604
                                                                                                                   City                        State                    ZIP Code
                                                                  Receivership begun 10/18/2019
                                                                  Receivership ended 03/13/2020

 Part 4:           Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     Er None
             Recipient's name and address                         Description of the gifts or contributions                      Dates given                    Value


     9.1.                                                                                                                                                      $
            Recipient's name


            Street




            City                        State       ZIP Code


             Recipient's relationship to debtor




                                                                                                                                                               $
     9.2. Recipient's name


            Street




            City                        State       ZIP Code

             Recipient's relationship to debtor



 Part 5:           Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
     El None
             Description of the property lost and how the loss    Amount of payments received for the loss                       Date of loss                Value of property
             occurred                                             If you have received payments to cover the loss, for                                       lost
                                                                  example, from insurance, government compensation, or
                                                                  tort liability, list the total received.
                                                                  List unpaid claims on Official Form 106A/B (Schedule AB:
                                                                  Assets — Real and Personal Properly).


                                                                                                                                                               $




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                             page 4
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Debtor            Permian Basin Railways, Inc.                                                 Case number (if known)
                  Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

     ❑ None

           Who was paid or who received the transfer?         If not money, describe any property transferred           Dates              Total amount or
                                                                                                                                           value

           L&G Law Group LLP
                                                                                                                        01/13/2021          $ 12 500.00
           Address

           175 W. Jackson Blvd
           Street
           Suite 950
           Chicago, IL 60604
           City                       State       ZIP Code


           Email or website address
           https://wvvw.lgcounsel.com/

           Who made the payment, if not debtor?

            Ed Ellis


           Who was paid or who received the transfer?         If not money, describe any property transferred           Dates              Total amount or
                                                                                                                                           value


   11.2.


           Address


           Street



           City                       State       ZIP Code

           Email or website address




           Who made the payment, if not debtor?




 12. Self-settled trusts of which the debtor is a beneficiary

     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     ef None
           Name of trust or device                            Describe any property transferred                         Dates transfers     Total amount or
                                                                                                                        were made           value


                                                                                                                                             $

           Trustee




Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 5
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Debtor            Permian Basin Railways, Inc.                                                   Case number (if known)
                  Name




 13.Transfers not already listed on this statement
     List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     Er None
           Who received transfer?                                Description of property transferred or payments received Date transfer       Total amount or
                                                                 or debts paid in exchange                                was made            value



   13.1.


           Address

           Street



           City                        State      ZIP Code


           Relationship to debtor




           Who received transfer?
                                                                                                                                               $

   13.2.

           Address


           Street



           City                        State      ZIP Code


           Relationship to debtor




1:2 Previous Locations

 14.Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

     ❑ Does not apply
           Address                                                                                                Dates of occupancy


   14.1.   1 Parker Place, Suite 112 Janesville, WI 53545                                                        From        02/2020         To     present
           Street



           City                                              State         ZIP Code

   14.2.    118 S. Clinton St., Ste. 400 Chicago, IL 60661                                                       From                        To     02/2020
           Street



           City                                              State         ZIP Code


Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6
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Debtor             Permian Basin Railways, Inc.                                                      Case number (if known)
                   Name



                   Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
     — diagnosing or treating injury, deformity, or disease, or
     — providing any surgical, psychiatric, drug treatment, or obstetric care?

     id No. Go to Part 9.
     ❑ Yes. Fill in the information below.

            Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                               debtor provides                                                             and housing, number of
                                                                                                                                           patients in debtor's care

   15.1.
            Facility name


            Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                               address). If electronic, identify any service provider.

                                                                                                                                           Check all that apply:

            City                    State       ZIP Code                                                                                   ❑ Electronically
                                                                                                                                           ❑ Paper

            Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                               debtor provides                                                             and housing, number of
                                                                                                                                           patients in debtor's care

   15.2.
            Facility name


            Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                               address). If electronic, identify any service provider.

                                                                                                                                           Check all that apply:

            City                    State       ZIP Code                                                                                   ❑ Electronically
                                                                                                                                           ❑ Paper

                   Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     IS No.
     ❑ Yes. State the nature of the information collected and retained.
                   Does the debtor have a privacy policy about that information?
                   ❑ No
                   ❑ Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     •     No. Go to Part 10.
    Er Yes. Does the debtor serve as plan administrator?
                   Flif No. Go to Part 10.
                   ❑ Yes. Fill in below:
                          Name of plan                                                                           Employer identification number of the plan
                          Iowa Pacific Holdings, LLC 401(k) Profit Sharing Plan                                  Eirsj: 3 6_ 4 4 2 9 3 6 1

                      Has the plan been terminated?
                      ❑ No
                      El Yes



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Debtor            Permian Basin Railways, Inc.                                                   Case number (if known)
                  Name



                  Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     ❑ None

           Financial institution name and address         Last 4 digits of account        Type of account                 Date account was      Last balance
                                                          number                                                          closed, sold, moved, before closing or
                                                                                                                          or transferred        transfer

   18.1.   Summit Credit Union                            )000c— 0040                       r Checking                        11/6/2020                    0.00
           Name
                                                                                          ❑ Savings
           Street                                                                         ❑ Money market

                                                                                          ❑ Brokerage

           City                 State       ZIP Code                                      ❑ Other


                                                                                          ❑ Checking
                                                          )000C—
           Name
                                                                                          ❑ Savings
           Street                                                                         ❑ Money market

                                                                                          ❑ Brokerage
           City                 State       ZIP Code                                      ❑ Other


 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     er None
            Depository institution name and address       Names of anyone with access to it              Description of the contents                 Does debtor
                                                                                                                                                     still have it?

                                                                                                      m                                              ❑ No
           Name                                                                                                                                      ❑ Yes

           Street

                                                           Address
           City                 State       ZIP Code



20.0ff-premises storage
   List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
   which the debtor does business.

    g None

            Facility name and address                     Names of anyone with access to it           Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                      ❑ No
           Name                                                                                                                                       ❑ Yes

           Street

                                                            Address
           City                 State       ZIP Code




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Debtor           Permian Basin Railways, Inc.                                                       Case number (if known)
                 Name




 Part 11:        Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     Er None

          Owner's name and address                            Location of the property                   Description of the property              Value



          Name


          Street




          City                 State        ZIP Code




                 Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
 ■ Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
   regardless of the medium affected (air, land, water, or any other medium).
 ■ Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
   formerly owned, operated, or utilized.
 ■ Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
   or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

         No
     ❑ Yes. Provide details below.

          Case title                                   Court or agency name and address                  Nature of the case                   Status of case

                                                                                                                                              ❑ Pending
          Case number                                  Name                                                                                   ❑ On appeal
                                                                                                                                              ❑ Concluded
                                                       Street




                                                       City                    State     ZIP Code




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     ef No
     ❑ Yes. Provide details below.

         Site name and address                         Governmental unit name and address                Environmental law, if known         Date of notice


          Name                                         Name


          Street                                       Street




          City                 State     ZIP Code      City                   State      ZIP Code




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Debtor             Permian Basin Railways, Inc.                                                  Case number (if known)
                   Name



 24. Has   the debtor notified any governmental unit of any release of hazardous material?
     er No
     ❑ Yes. Provide details below.

           Site name and address                    Governmental unit name and address                Environmental law, if known                 Date of notice



            Name                                    Name

            Street                                  Street



            City               State    ZIP Code    City                 State        ZIP Code




1:1=1 Details About the Debtor's Business or Connections to Any Business

 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     ❑ None


           Business name and address                 Describe the nature of the business                        Employer Identification number
                                                                                                                Do not include Social Security number or ITIN.
                                                     Railroad                                                   EIN: 93         -0952507
   25.1.    Mt. Hood Railroad Company
            Name                                                                                                Dates business existed
            110 RAILROAD AVE.
            Street
                                                                                                                From 3/23/1987       To present
            HOOD RIVER, OR 97031
            City               State    ZIP Code



           Business name and address                 Describe the nature of the business                        Employer Identification number
   25.2.
                                                                                                                Do not include Social Security number or ITIN.

            Chicago Terminal Railroad C             Railroad                                                    EIN: 20         _ 4953021
            Name
                                                                                                                Dates business existed
            1 PARKER PLACE,
            Street
            SUITE112                                                                                            From 6/6/2006        To present
            JANESVILLE, WI 53545
            City               State    ZIP Code



           Business name and address                 Describe the nature of the business                        Employer Identification number
                                                                                                                Do not include Social Security number or ITIN.

   25.3.    San Luis & Rio Grande Railroad, Inc.    Railroad                                                    EIN: 45         -0506498
            Name
                                                                                                                Dates business existed
             10 South LaSalle Street
            Street
             Suite 3300
                                                                                                                From 2/25/2003 To present
             Chicago, IL 60603
            City               State    ZIP Code




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Debtor             Permian Basin Railways, Inc.                                                    Case number (if known)
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

            ❑ None
              Name and address                                                                                    Dates of service

                                                                                                                  From                To
   26a.1.         CBIZ MHM, LLC - Chicago, David Barrash
              Name
                  225 West Wacker Drive
              Street
                  Suite 2500
                  Chicago, IL 60606
              City                                                State                 ZIP Code


              Name and address                                                                                    Dates of service

                                                                                                                  From                To
   26a2.          Novo Advisors / Sandeep Gupta
              Name
                  401 N Franklin St.
              Street
                  Suite 4 East
                  Chicago, Illinois 60654
              City                                                State                 ZIP Code



     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
            statement within 2 years before filing this case.
            ❑ None

                     Name and address                                                                             Dates of service

                                                                                                                  From                To
         26b.1.        CBIZ MHM, LLC - Chicago, David Barrash
                     Name
                     225 West Wacker Drive Suite 2500
                     Street


                       Chicago, IL 60606
                     City                                             State                 ZIP Code


                     Name and address                                                                             Dates of service

                                                                                                                  From                To
         26b.2.      Novo Advisors / Sandeep Gupta
                     Name
                     401 N Franklin St. Suite 4 East
                     Street


                     Chicago, Illinois 60654
                     City                                             State                 ZIP Code



     26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.
            ❑ None
                     Name and address                                                                             If any books of account and records are
                                                                                                                  unavailable, explain why

         26c.1.      CBIZ MHM, LLC - Chicago, David Barrash
                     Name
                     225 West Wacker Drive Suite 2500
                     Street


                       Chicago, Illinois 60606
                     City                                             State                 ZIP Code



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Debtor                Permian Basin Railways, Inc.                                                  Case number (if known)
                      Name




                        Name and address                                                                           If any books of account and records are
                                                                                                                   unavailable, explain why


           26c.2.        Novo Advisors / Sandeep Gupta
                        Name
                         401 N Franklin St. Suite 4 East
                        Street
                         Chicago, Illinois 60654

                        City                                           State                   ZIP Code



     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

              ❑ None

                        Name and address


           26d.1.       Big Shoulders Capital, LLC
                        Name
                        105 Revere Drive, Suite D
                        Street


                        Northbrook, IL 60062
                        City                                           State                   ZIP Code


                        Name and address


           26d.2.       Sandton Rail Company, LLC
                        Name

                         16 West 46th Street
                        Street
                         11th Floor
                         New York, NY 10036
                        City                                           State                   ZIP Code




 27. Inventories

     Have any inventories of the debtor's property been taken within 2 years before filing this case?
     ar No
     ❑ Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                        Date of         The dollar amount and basis (cost, market, or
                                                                                                    inventory       other basis) of each inventory




               Name and address of the person who has possession of inventory records


   27.1.
              Name


               Street




               City                                                    State        ZIP Code




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Debtor             Permian Basin Railways, Inc.                                                Case number (if known)
                   Name




            Name of the person who supervised the taking of the inventory                     Date of           The dollar amount and basis (cost, market, or
                                                                                              inventory         other basis) of each inventory




            Name and address of the person who has possession of inventory records


   27.2.
            Name

            Street



            City                                                    State         ZIP Code


 28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.


            Name                                Address                                               Position and nature of any            % of interest, if any
                                                                                                      interest
            Ed Ellis                           317 S. Catherine Ave., La Grange, IL 60525              Director
            Iowa Pacific Holdings, LLC         1 Parker Place, Suite 112 Janesville, WI 53545          Controlling Sharholder                     100%




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
     of the debtor, or shareholders in control of the debtor who no longer hold these positions?
     Er No
     ❑ Yes. Identify below.

            Name                                Address                                                Position and nature of         Period during which
                                                                                                       any interest                   position or interest was
                                                                                                                                      held
                                                                                                                                     From          To

                                                                                                                                     From          To

                                                                                                                                     From          To

                                                                                                                                     From           To

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
     id    No
     ❑ Yes. Identify below.

            Name and address of recipient                                            Amount of money or                   Dates              Reason for
                                                                                     description and value of                                providing the value
                                                                                     property


   30.1.
            Name

            Street



            City                                     State          ZIP Code

            Relationship to debtor




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Debtor                Permian Basin Railways, Inc.                                                   Case number
                     Name




              Name and address of recipient

   30,2
              Name


              Street




              City                                           State       ZIP Code


              Relationship to debtor




 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     ❑ No
     Er Yes. Identify below.

              Name of the parent corporation                                                                Employer Identification number of the parent
                                                                                                            corporation
              Iowa Pacific Holdings, LLC                                                                    EIN:   36    -4429361


 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     el No
     ❑ Yes. Identify below.


              Name of the pension fund                                                                      Employer Identification number of the pension fund
                                                                                                            EIN:




 Part 14:              Signature and Declaration



             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.


             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       03/15/2021
                               MM / DD / YYYY



                                                                                          Printed name   Edwin Ellis
             Signat         .'.'•ual signing on behalf of the debtor

             Position or relationship to debtor   Director


     Are additional pages to Statement of Financial Affairs for Non-individuals Filing for Bankruptcy (Official Form 207) attached?
         ❑    No
         Er Yes




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               OFFICIAL FORM 207 — STATEMENT OF FINANCIAL AFFAIRS FOR
                      NON-INDIVIDUALS FILING FOR BANKRUPTCY
                              PART 3, SECTION 7 CONTINUATION
      Case title                    Nature of case    Court or agency's name and        Status of case
                                                      address
7.3   In re Saratoga and North Creek Chapterl l       United States Bankruptcy Court Pending
      Railway, LLC                                    for the District of Colorado
      Case number:                                    721 19th Street
      20-12313-TBM                                    Denver, CO 80202
7.4   In re Hertitage Rail Leasing,  Chapter 11       United States Bankruptcy Court Pending
      LLC                                             for the District of Colorado
      Case number:                                    721 19th Street
      20-15606                                        Denver, CO 80202
7.5   Independent Locomotive         Contract         United States District Court for Pending
      Leasing, LLC v. Permian                         the Northern District of Illinois
      Basin Railways, Inc.                            Dirksen Federal Bldg
      Case number:                                    219 S Dearborn Street
      18-cv-07295                                     Chicago, IL 60604


                             PART 13, SECTION 25 CONTINUATION
      Business name and address Describe nature      Employer Identification Dates business existed
                                of business          Number
25.4 Austin & Northwestern      Railroad             XX-XXXXXXX              Closed in 7/2015
      Railroad Company, Inc.
      d/b/a Texas-New Mexico
      Railroad
      109 E. Texas Ave
      Eunice, NM 88231
25.5 Piedmont Railway, LLC      Railroad             XX-XXXXXXX                4/29/2015 — 10/11/2019
      118 S. Clinton St.
      Suite 400
      Chicago, IL 60661
25.6 Santa Cruz and Monterey    Railroad             XX-XXXXXXX                6/15/2012 — 6/24/2020
      Bay Railway Company
      118 S. Clinton St.
      Suite 400
      Chicago, IL 60661
25.7 West Texas and Lubbock     Railroad             XX-XXXXXXX                Closed in 7/2015
      Railroad Company, Inc.
      118 S. Clinton St.
      Suite 400
      Chicago, IL 60661
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                              PART 13, SECTION 26 CONTINUATION
       Name and address                              Dates of Service From Date of Service To
26a.3 Howard Clark
       2127 Williamsburg Ave.
       Geneva, IL 60134
26a.4 Edwin E. Ellis
       317 S. Catherine Ave.
       La Grange, IL 60525
26a.5 Development Specialists, Inc.
       Bill Brandt
       10 South LaSalle Street, Suite 3300
       Chicago, Illinois 60603

26b.3 Howard Clark
       2127 Williamsburg Ave.
       Geneva, IL 60134
26b.4 Edwin E. Ellis
       317 S. Catherine Ave.
       La Grange, IL 60525
26b.5 Development Specialists, Inc.
       Bill Brandt
       10 South LaSalle Street, Suite 3300
       Chicago, Illinois 60603

       Name and address                              If any books of account and records are
                                                     unavailable, explain why
26c.3 Edwin E. Ellis
       317 S. Catherine Ave.
       La Grange, IL 60525
26c.4 Development Specialists, Inc.
       Bill Brandt
       10 South LaSalle Street, Suite 3300
       Chicago, Illinois 60603

       Name and address
26d.3 Novo Advisors / Sandeep Gupta
       401 N Franklin St. Suite 4 East
       Chicago, IL 60654
26d.4 Andrew Lapp
       Executive Director - Commercial Banking
       JPMorgan Chase Bank
       10 S. Dearborn, 16th Fl.
       Chicago, IL 60603-2003
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26d.5 Chuck Doyle
       Business Capital (BizCap)
       311 California Street, Suite 650
       San Francisco, CA 9410
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                                                                                       175 W. Jackson Blvd.
                  LotG LAW GROUP LLP
CG
                                                                                                  Suite 950
                                                                                          Chicago, IL 60604
                           ATTORNEYS AT LAW
                                                                                            T 312.364.2500
                                                                                            F 312.364.1003
 Gerald Haberkorn                                                                      www.lgcounsel.com
 T: 312.456. 2701
 E: ghaberkorn@lgcounsel.com



                                            January 14, 2021
Via Email:
Permian Basin Railways, Inc.
Attn: Edwin E. Ellis, President
1 Parker Place, Suite 112
Janesville, WI 53545
ed@ellis.global



                                            Re: Chapter 7 Bankruptcy Case

Dear Mr. Ellis,

Thank you for retaining L&G Law Group LLP ("L&G") to represent Permian Basin Railways, Inc.
("Permian" or the "Debtor") for the filing of a chapter 7 bankruptcy case (the "Chapter 7 Case") on
behalf of Permian. The purpose of this letter is to describe the basis on which our firm will provide legal
services to Permian.

        Permian will pay L&G the sum of $12,500 as an advance payment retainer for this engagement.
The advance payment retainer will be deposited into L&G's business account (rather than a trust
account), and will become the property of L&G upon payment. An advance payment retainer (rather
than a security retainer) is necessary to accomplish Permian's purposes in this matter due to Permian's
impending bankruptcy, and because of the need to keep such funds out of the reach of creditors who
might otherwise be able to seize assets of Permian. L&G would not be willing to represent Permian in
this matter without receiving an advance payment retainer because a traditional security retainer might
be subject to attachment by a creditor or turnover to a trustee. Permian and L&G agree that the
advance payment retainer will be used only for fees and expenses incurred after receipt by L&G of such
payment, and not on account of any antecedent debt owed to L&G.

       In addition, Permian will pay L&G the $338 filing fee required by the bankruptcy court to file the
Chapter 7 case.


        L&G will perform the following services for Permian in connection with the Chapter 7 Case:


                     •   Preparation and filing of required petitions, schedules, statement of
                         financial affairs, and lists;
                     •   Representation of the debtors at the meeting of creditors, and any
                         adjourned hearings thereof.
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Permian Basin Railways, Inc.
January 14, 2021
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        The following tasks are not included in this engagement

                    •   Adversary proceedings;
                    •   Motions to dismiss or to convert the Chapter 7 Case to another chapter
                        under the Bankruptcy Code or representation of the Debtor in such a
                        converted case;
                    •   Motions to transfer or disputes over venue of the Chapter 7 Case;
                    •   Redemption proceedings;
                    •   Abandonment proceedings.

        As we have discussed, L&G currently represents certain affiliates of Permian, including its parent
company, Iowa Pacific Holdings, LLC, and other affiliates in certain matters. The financial affairs among
these companies may include intercompany claims between affiliates who are both clients of L&G. At
this time, we do not believe that the representation of Permian in the Chapter 7 Case will be directly
adverse to another client, and we believe that L&G will be able to provide competent and diligent
representation to each affected client. By signing this engagement agreement, Permian gives its
informed consent to L&G's concurrent representation of Permian's affiliates.

        Our fees for this engagement will be based upon the hourly billing rates in effect at the time of
service for each attorney and paralegal who devotes time to your matter. The L&G attorneys who will
work on this case include primarily Gerald Haberkorn and Lars Peterson, whose respective billing rates
are $550 and $425 per hour. The paralegal billing rate for L&G is $150 per hour. Where appropriate,
L&G will use the services of other attorneys, paralegals, and other L&G personnel to represent
Permian's interests efficiently and effectively. We record our time in units of one-tenth of an hour.

         We will do our utmost to serve you effectively, and will represent your interests vigorously and
efficiently.

        Please let us know if you have any questions. If the terms described above are satisfactory,
please so indicate by signing in the space provided below. We look forward to working with you in this
engagement and to developing a mutually satisfactory relationship.


                                            Very truly yours,
                                          LOWIS & GELLEN LLP



                                           Gerald Haberkorn



Agreed: PERMIAN"' BAS RAJLWAYS, INC.


By: -                                               Date: January 14, 2021.
Name: Edwin E. Ellis
Title: President
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                              United States Bankruptcy Court
                                Northern               District Of    Illinois



In re    Permian Basin Railways, Inc.

                                                                          Case No.

Debtor                                                                    Chapter 7

                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
     named debtor(s) and that compensation paid to me within one year before the filing of the petition in
     bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
     contemplation of or in connection with the bankruptcy case is as follows:

     For legal services, I have agreed to accept                                      $ 12,500

     Prior to the filing of this statement I have received                              $ 12,500

     Balance Due                                                                       $ 0

2. The source of the compensation paid to me was:

                                       X
              Debtor                       Other (specify) Ed Ellis

3. The source of compensation to be paid to me is: N/A

              Debtor                       Other (specify)

          X
4.          I have not agreed to share the above-disclosed compensation with any other person unless they are
         members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a other person or persons who are not
         members or associates of my law firm. A copy of the agreement, together with a list of the names of the
         people sharing in the compensation, is attached.

5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
   case, including:

     a. Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to
        file a petition in bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and-eonfirmatierrhearing, and any adjourned
        hearings thereof;
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B2030 (Form 2030) (12/15)

     d. Representation erf-the-debter-nreelversary-proceetlings-and-ert+ter-eontesteel bankruptcy matters;

     e.   fetherpravisians-arneededi




6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:


 •       Adversary proceedings;
 •       Motions to dismiss or to convert the Chapter 7 Case to another chapter under the
 Bankruptcy Code or representation of the Debtor in such a converted case;
 •       Motions to transfer or disputes over venue of the Chapter 7 Case;
 •       Redemption proceedings;
 •       Abandonment proceedings.




                                                     CERTIFICATION

             I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
          me for representation of the debtor(s) in this bankruptcy proceeding.
           March 15, 2021                       /s/ Lars A. Peterson
          Date                                     Signature of Attorney
                                                L&G Law Group LLP
                                                   Name of law firm
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                         UNANIMOUS WRITTEN CONSENT OF
                               THE DIRECTORS OF
                          PERMIAN BASIN RAILWAYS, INC.

        The undersigned, being the sole director (the "Director") of PERMIAN BASIN
RAILWAYS, INC., an Illinois corporation (the "Company"), hereby consents in writing to the
following actions in lieu of holding a meeting of the Board of Directors and waives any and all
notice whatsoever required:

        WHEREAS, the Company is indebted to various persons and is unable to pay its debts in
full as they become due and payable and desires to make arrangements for payment of its debts;
and

        WHEREAS, post judgment enforcement proceedings are pending against the Company
in the matter of Independent Locomotive Leasing, LLC v. Permian Basin Railways, Inc., (N.D.
Ill., Case No. 18-cv-07295);

        WHEREAS, the Director has received, reviewed and considered various documents and
information and has had the advice of counsel concerning various options available to the
Company; and

        WHEREAS, in the judgment of the Director, it is desirable and in the best interests of
the Company, its creditors, its shareholders, and other interested parties for the Company to
commence bankruptcy proceedings as a debtor under chapter 7 of the United States Bankruptcy
Code;

        NOW, THEREFORE, BE IT RESOLVED, that the Company retain the law firm of
L&G Law Group LLP ("L&G") to institute proceedings on behalf of the Company in the United
States Bankruptcy Court (the "Bankruptcy Court") as a debtor under chapter 7 of the United
States Bankruptcy Code (the "Chapter 7 Case"), and that an advance payment retainer in the
amount of $12,500, plus costs of $338, be paid to L&G in connection with the Chapter 7 Case;
and

        FURTHER RESOLVED, that Edwin E. Ellis, (the "Authorized Officer") is authorized
and empowered to execute, verify and file on behalf of the Company all petitions, schedules,
lists, and other papers or documents, to participate as the Company's representative at any
meeting of creditors, to execute and ratify appropriate retention agreements with L&G, and to
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take and perform any and all further actions and steps that the Authorized Officer deems
necessary, desirable and proper in connection with the Chapter 7 Case, with a view to
successfully prosecuting such case; and it is

       FURTHER RESOLVED, that, subject to the foregoing resolutions, the Authorized
Officer is authorized and empowered to take on behalf of the Company any and all actions, to
execute, deliver, certify, file or record and perform any and all documents, agreements,
instruments, motions, affidavits, applications for approvals or rulings of governmental or
regulatory authorities or certificates and to take any and all actions and steps deemed by the
Authorized Officer to be necessary or desirable to carry out the purpose and intent of each of the
foregoing resolutions and to effectuate a successful Chapter 7 Case; and it is

       FURTHER RESOLVED, that any and all actions heretofore taken by the officers of the
Company, the Authorized Officer, or the Director, in the name and on behalf of the Company in
furtherance of the purpose and intent of any or all of the foregoing resolutions are hereby
ratified, confirmed, and approved in all respects.



Dated as of this 15th day of March, 2021.




                                      Edwin E. Ellis

                                      Being the sole Director of
                                      PERMIAN BASIN RAILWAYS, INC.
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Alex Smith                                Arizona Department of Revenue        ASCAP
1203 Ronald Drive                         1600 West Monroe Street              21678 Network Place
Anderson, IN 46013                        Phoenix, AZ 85007                    Chicago, IL 60673-1216




Bandt Communications Inc.                 Big Shoulders Capital LLC            Bill Clark Truck Line, Inc.
1346 Excalibur Drive                      105 Revere Drive, Suite D            311 6th Street
Janesville, WI 53546                      Northbrook, IL 60062                 Alamosa, CO 81101




Canadian National                         Cape Rail, Inc.                      Central Washington Railroad Company
935 de La Gauchetiere Street West         12 HARDING ST                        111 University Parkway
Montreal, Quebec, Canada H3B 2M9          SUITE 201-202                        Suite 200
                                          LAKEVILLE, MA 02347                  Yakima, WA 98901


CenturyLink                               Chicago Terminal Railroad Company    Coastal Chemical Co. LLC
100 Centurylink Drive                     1 PARKER PLACE, SUITE 112            5300 Memorial Drive
Monroe, LA 71203                          JANESVILLE, WI 53545                 Suite 1020
                                                                               Houston, TX 77007


Cox Media Group Tulsa                     Creative Colors International        CT Corporation
11811 E 51st Street South                 3020-i Prosperity Church Rd.         301 S BEDFORD ST
Tulsa, OK 07146                           Suite 155                            SUITE 1
                                          Charlotte, NC 28269                  Madison, WI 53703


David M. Unseth                           Department of Labor and Employment   DOT/FRA
Bryan Cave Leighton Paisner LLP           633 17Th Street                      100 New Jersey Avenue, S.E.
211 North Broadway Street                 Suite 500                            Washington, D.C. 20590
Suite 3600                                Denver, CO 80202-3660
St. Louis, MO 63102-2726

Ed Ellis                                  Eric Prezant                         FDGL
317 S. CATHERINE AVE.                     Bryan Cave Leighton Paisner LLP      5565 Glenridge Connector NE
LA GRANGE, IL 60525                       161 North Clark Street               Suite 2000
                                          Suite 4300                           Atlanta, GA 30342
                                          Chicago, IL 60601-3315

Foster Printing Service, Inc              Gregory, Stephen                     Heritage Rail Leasing, LLC
4295 Ohio Street                          800 Pearl Street, Apt. 1204          1 PARKER PLACE, SUITE 112
Michigan City, IN 46360                   Denver, CO 80208                     JANESVILLE, WI 53545




Hoosier State Train, LLC                  Hugh Michael McConville              Idea Marketing Group, Inc.
118 SOUTH CLINTON ST                      9436 N Tolles Road                   1939 S Bridge Street
SUITE 400                                 Evansville, WI 53536                 Yorkville, IL 60560
CHICAGO, IL 60661


Independent Locomotive Leasing, LLC       Internal Revenue Service             Iowa Pacific Holdings, LLC
225 W. Washington St., Suite 2200         Centralized Insolvency Operation     1 PARKER PLACE, SUITE 112
Chicago, IL 60606                         Box 7346                             JANESVILLE, WI 53545
                                          Philadelphia, PA 19101-7346
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Isla Largo, LLC                          J.J. Keller & Associates, Inc.             JMA Rail Products Co.
118 SOUTH CLINTON ST                     3003 Breezewood Lane                       835 East 10th Street
SUITE 400                                Neenah, WI 54956                           Seymour, IN 47274
CHICAGO, IL 60661


Key Tours International                  L&G Law Group LLP                          Lars A. Peterson
11096 LEE HWY                            175 W. Jackson Blvd., Ste. 950             L&G Law Group LLP
SUITE B104                               Chicago, IL 60604                          175 W. Jackson Blvd.
FAIRFAX VA 22030                                                                    Suite 950
                                                                                    Chicago, IL 60604

Law Office of Richard M. Kates           Liberty Oil Company. LLC                   Lou Hammond & Associates
111 West Washington Street               301 North Woody Guthrie Street             145 King Street
Suite 1900                               Okemah, OK 74859                           Charleston, SC 29401
Chicago, IL 60602


Lubbock & Western Railway, LLC           M Bar D. LLC                               Mt. Hood Railroad Company
103 North Steck Avenue                   131 S. Dearborn                            110 RAILROAD AVE.
Wolfforth, TX 79382                      6th Floor                                  HOOD RIVER, OR 97031
                                         Chicago, IL 60603


Nations Fund I, LLC                      New Mexico Taxation & Revenue Dept.        Norfolk Southern Corporation
501 Merritt 7                            1100 South St. Francis Drive               Attn: Tom Washbon
Norwalk, CT 06851                        Santa Fe, NM 87504                         4600 Deer Path Road
                                                                                    Harrisburg, PA 17110


Pan American Railway Co                  Piedmont Railway, LLC                      Port Containers
5718 Westheimer                          118 S. CLINTON ST.                         1725 DeSales Street, NW
Suite 800                                SUITE 400                                  Suite 650
Houston, TX 77057                        CHICAGO, IL 60661                          Washington, D.C. 20036


Power Rail Distribution                  PSE, Inc                                   Publication Design, Inc.
205 Clark Road                           P.O. Box 659                               3798 Marshall St.
Duryea, PA 18642                         212 East Sixth Street                      Suite 1A
                                         Tulsa, OK 74119                            Wheat Ridge, CO 80033


Pueblo County Treasurer                  R. B. Hornberger Co Inc                    Rail Term Corp
215 West 10Th Street                     3900 24Th Ave Bay 2                        10765 Cote de Liesse
Room 110                                 Forest Grove, OR 97116                     Suite 201
Pueblo, CO 81003-2968                                                               Dorval, Quebec, Canada H9P 2R9


Ronald S. Beacher                        Rusk, Palestine & Pacific Railroad, Inc.   San Luis & Rio Grande Railroad, Inc.
Pryor Cashman LLP                        1 PARKER PLACE, SUITE 112                  10 South LaSalle Street
7 Times Square                           JANESVILLE, WI 53545                       Suite 3300
New York, NY 10036-6569                                                             Chicago, IL 60603


Sandton Rail Company, LLC                Santa Cruz and Monterey Bay                Saratoga and North Creek Railway,
16 West 46th Street                      Railway Company                            LLC
11th Floor                               118 S. CLINTON ST., SUITE 400              118 S. CLINTON ST.
New York, NY 10036                       CHICAGO, IL 60661                          SUITE 400
                                                                                    CHICAGO, IL 60661
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Stillwater Central Railroad, LLC           T.G.Mercer Consulting Services      TAJ Company
900 South Byers Avenue                     120 El Chico Trail                  601 Airport Blvd
Oklahoma City, OK 72129                    Willow Park, TX 76807               Suite B
                                                                               South San Francisco, CA 94080-4666


The Andersons, Inc.                        The Pullman Sleeping Car Company,   Trinity Rail Management, Inc.
1947 Briarfield Boulevard                  LLC                                 2525 Stemmons Freeway
Maumee, OH 43537                           118 S. CLINTON ST., SUITE 400       Dallas, TX 75207
                                           CHICAGO, IL 60661


Trumble Crane & Rigging                    U.S. Railroad Retirement Board      United Rail Contracting, Inc.
312 NE Loop                                844 N Rush Street                   3713 Chippewa Trail
Lubbock, TX 79403                          Chicago, IL 60611-2092              Billings, MT 59106




United Rentals                             Watco Companies, Inc                West Texas and Lubbock Railroad
100 First Stamford Place                   315 West 3rd Street                 Company, Inc.
Stamford, CT 06902                         Pittsburg, KS 66762                 118 S. CLINTON ST., SUITE 400
                                                                               CHICAGO, IL 60661


Western Assoc of Travel Agencies           WGN AM                              Wide Eye Productions
5933 NE Win Sivers Dr                      303 East Wacker Drive               Robert Van Camp
Suite 202                                  18th floor                          301 North Main Street
Portland, OR 97220                         Chicago, IL 60601                   22nd Floor, Suite 2207
                                                                               Winston Salem, NC 27101

Winkler County                             Wisconsin Department Of Revenue     Yellow Pages United
100 East Winkler Street                    2135 Rimrock Rd.                    115 Penman Road
Kermit, TX 79745                           Madison, WI 53713                   Neptune Beach, FL 32266
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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


                                                   Case No.
In re Permian Basin Railways, Inc.
                                                   Chapter 7
             Debtor


                 DEBTOR'S CORPORATE OWNERSHIP STATEMENT
                    PURSUANT TO FED. R. BANKR. P. 1007(a)(1)


       Permian Basin Railways, Inc. ("Debtor"), by and through its undersigned counsel, hereby

submits this statement pursuant to Fed. R. Bankr. P. 1007(a)(1).

       Debtor is a privately held Illinois corporation, wholly owned by Iowa Pacific Holdings,

LLC, an Illinois limited liability company. No corporation owns 10% or more of any class of

equity interests in Iowa Pacific Holdings, LLC.

                                             PERMIAN BASIN RAILWAYS, INC.


                                     By:     /s/ Lars A. Peterson
                                             One of Its Attorneys

                                            L&G Law Group LLP
                                            Lars A. Peterson
                                            175 W. Jackson Blvd., Ste. 950
                                            Chicago, Illinois 60604
                                            Phone: (312) 364-2500
                                            Fax: (312) 364-1003
                                            1peterson@lgcounsel.com


                                             Attorney for Permian Basin Railways, Inc.
